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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

                                         :
IN RE: OIL SPILL by the OIL RIG          : MDL NO. 2179
         “DEEPWATER HORIZON” in the      :
         GULF OF MEXICO, on              :
         APRIL 20, 2010                  :
                                         : SECTION: J
This Pleading Applies To:                :
MDL 2179 B1 Amended Master Complaint And :
All Cases In Pleading Bundle B1          :
                                         : JUDGE BARBIER
This Pleading Applies To:                : MAG. JUDGE SHUSHAN
No. 10-2771 (Limitation Action)          :
------------------------------------------------------------------------

             BP DEFENDANTS’ MEMORANDUM IN SUPPORT OF
            BP DEFENDANTS’ MOTION TO DISMISS PURSUANT TO
            FED. R. CIV. P. 12(B)(1) AND FED. R. CIV. P. 12(B)(6) THE
         FIRST AMENDED MASTER COMPLAINT CROSS-CLAIM, AND
       THIRD-PARTY COMPLAINT FOR PRIVATE ECONOMIC LOSSES IN
    ACCORDANCE WITH PTO NO. 11 [CMO NO. 1] SECTION III.B1 [“B1 BUNDLE”]
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   Pub. L. No. 101-380, 104 Stat. 484 (Aug. 18, 1990) ............................................................... 10

RESTATEMENT (SECOND) OF TORTS § 538 .................................................................................... 41

S. Rep. No. 101-94 (1990), reprinted in 1990 U.S.C.C.A.N. 722 ............................................ 9, 17

U.S. Const. art. I, § 8, cl. 3 ............................................................................................................ 43




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                 INTRODUCTION AND SUMMARY OF ARGUMENT

         The BP Defendants — BP Exploration & Production Inc. (“BPXP”), BP America

Production Company and BP p.l.c. — (together “BP”) respectfully submit this Memorandum in

support of their Motion to Dismiss Plaintiffs‟ B1 First Amended Master Complaint for Private

Economic Losses (hereinafter “B1 Amended Master Complaint” or “B1 Compl.”).

         Plaintiffs seek to assert seven Counts against BP in their B1 Amended Master Complaint:

general maritime law claims for negligence, gross negligence and willful misconduct (Count I.A-

B), an OPA claim (Count II), state law claims (Count III), a punitive damages count (Count IV),

and counts seeking declaratory relief in an attempt to interfere with settlements that parties have

every right to choose to enter into to resolve claims relating to the Deepwater Horizon incident

rather than engage in litigation (Counts V and VI). BP moves to dismiss all of these Counts.

         The B1 Pleading Bundle encompasses “Non-Governmental Economic Loss and Property

Damages.” (PTO 11 [Doc. 569].) The Oil Pollution Act of 1990 (OPA), 33 U.S.C. §§ 2701 et

seq., is the sole remedy for non-governmental entities asserting economic loss and property

damage claims against BP resulting from the Deepwater Horizon incident and oil spill.

         There is no role for the admiralty law claims Plaintiffs assert against BP in Count I.

These federal common law claims must be dismissed. Where, as here, Congress enacts a statute

on a subject previously controlled by federal common law, the federal statute displaces the prior

common law. Every court addressing this issue has held that OPA displaces maritime law claims

against responsible parties such as BP. See Gabarick v. Laurin Mar. (Am.), Inc., 623 F. Supp. 2d

741, 750 (E.D. La. 2009); Tanguis v. M/V Westchester, 153 F. Supp. 2d 859, 867 (E.D. La.

2001).

         Likewise, there is no role for the state law claims that Plaintiffs assert against BP in


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Count III. These state law claims are preempted for two independent reasons:

    First, Plaintiffs‟ state law claims are preempted as a result of the Outer Continental Shelf
     Lands Act (OCSLA), 43 U.S.C. §§ 1331 et seq. The Deepwater Horizon incident and
     resulting oil spill originated on the Outer Continental Shelf (OCS), and OCSLA establishes
     that federal law exclusively governs legal problems arising in connection with operations on
     the OCS. See, e.g., Tenn. Gas Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 156 (5th Cir.
     1996); EP Operating Ltd. P’ship v. Placid Oil Co., 26 F.3d 563, 569 (5th Cir. 1994). Under
     OCSLA the only state law with any potential applicability to operations on the OCS is the
     law of the “adjacent State,” which may be borrowed as surrogate federal law, but only if
     there is a “substantial gap” or “void” in federal law. See Gulf Offshore Co. v. Mobil Oil
     Corp., 453 U.S. 473, 480-81 (1981) (citing 43 U.S.C. § 1333(a)(2)). Here, Louisiana is the
     “adjacent State,” but Louisiana law cannot be borrowed. Because BP is a “responsible party”
     under OPA, there is no “substantial gap” let alone “void” in federal law concerning asserted
     economic loss and property damage claims arising out of the Deepwater Horizon incident.
     The federal OPA statute makes available comprehensive and detailed provisions for relief.

    Second, Plaintiffs‟ state law claims are preempted by the extensive regulatory regime of the
     Clean Water Act and its National Pollutant Discharge Elimination System (“NPDES”), 33
     U.S.C. § 1342. Pursuant to the U.S. Supreme Court‟s Ouellette line of precedent, impacted
     States‟ laws of any kind are preempted as applied to water pollution originating outside those
     States, where such pollution is regulated by the Clean Water Act under the NPDES
     regulatory regime administered by the U.S. EPA. Only tort laws and regulations of the
     source State of the pollution may be applied; application of the tort laws and regulations of
     States impacted by pollution originating elsewhere is barred. See Int’l Paper Co. v.
     Ouellette, 479 U.S. 481 (1987). Here, there is no source State. Instead, the Deepwater
     Horizon‟s drilling activities, and the inter-state water pollution resulting from the Deepwater
     Horizon incident and ensuing oil spill originated on the OCS. Thus, only the exclusively
     federal laws governing the OCS may be applied here, namely OCSLA, and application of the
     tort laws and regulations of the impacted Gulf Coast States (or any other State) is barred.

        With regard to OPA, from the outset of the Deepwater Horizon incident, BP has

expressed its commitment to pay all legitimate OPA claims, and BP‟s actions reflect this

commitment. In early May 2010, BP accepted the designation as an OPA “responsible party” by

the U.S. Coast Guard. BP quickly established a claims process as OPA requires a “responsible

party” to do. BP paid nearly $400 million to individuals and businesses while operating its OPA

claims process. (Ex. 2.) Following a June 16, 2010 meeting with President Obama, BP agreed

to transition its claims process to a facility administered by Kenneth Feinberg and to establish a

$20 billion trust fund. (Ex. 3.) OPA did not require BP to turn over to a third party decision-


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making on OPA claims. At Mr. Feinberg‟s direction, over $3.4 billion has been paid to date

from the trust fund to parties filing claims with the Gulf Coast Claims Facility (“GCCF”).

(Ex. 4.)

        OPA includes a compulsory two-step claim presentation process that each B1 Plaintiff

must satisfy before filing suit. Plaintiffs‟ OPA count (Count III), and individual complaints,

must be dismissed because Plaintiffs have not done so. Pursuant to OPA, before filing suit, a

claimant must (i) “present” a claim to the GCCF (or BP if before the GCCF‟s establishment),

and (ii) await denial of the claim or expiration of a 90-day negotiation period, which begins after

the claim is “presented.” See 33 U.S.C. § 2713. Every court considering the issue has held that

dismissal is mandatory for a plaintiff who failed to comply with OPA‟s claim presentation

requirement. See, e.g., Boca Ciega Hotel, Inc. v. Bouchard Transp. Co., 51 F.3d 235, 240 (11th

Cir. 1995); Gabarick v. Laurin Mar. (Am.), Inc., No. 08-4007, 2009 WL 102549, at *2 (E.D. La.

Jan. 12, 2009). Courts do not have discretion to stay lawsuits pending satisfaction of the OPA

claim presentation requirement, for doing so would violate OPA‟s express language and end-

run the very purpose of the requirement “to promote settlement and avoid litigation.” Turner

v. Murphy Oil USA, Inc., No. 05-4206, 2007 WL 4208986, at *2 (E.D. La. Nov. 21, 2007).

        What follows is a summary of all grounds on which BP moves to dismiss the B1

Amended Master Complaint, including independent, alternative grounds for dismissal:

    Count I (maritime law claims for negligence, gross negligence, and willful misconduct):
     First, OPA displaces these maritime claims against BP as an OPA responsible party. And,
     even if not displaced, these claims are barred by Robin’s Dry Dock because Plaintiffs assert
     economic losses with no physical injury to a proprietary interest.

    Count II (OPA): First, dismissal is mandatory because Plaintiffs did not comply with
     OPA‟s claim presentation process before filing suit. Also, for “VoO Plaintiffs,” participants
     in BP‟s post-incident Vessels of Opportunity program that provided opportunity for local
     boat operators to assist with response activities, (B1 Compl. ¶ 209(g)), this Count must be
     dismissed because OPA does not apply to injuries incurred “as a result of their work in the


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     VoO program” (id.). Finally, Plaintiffs‟ natural resource damages (“NRD”) request must be
     dismissed because OPA does not permit private parties to seek NRDs.

    Count III (state law claims for nuisance, trespass, and fraudulent concealment and under
     the Florida Pollutant Discharge Prevention and Control Act (PDPCA)): First, as
     described above, OCSLA preempts Plaintiffs‟ state law claims. Second, as described above,
     pursuant to Ouellette and its progeny, all Plaintiffs‟ state law claims are conflict preempted
     by the Clean Water Act and its NPDES regime. Third, even if there were a “substantial
     „gap‟” in federal law and, pursuant to OCSLA, Louisiana law could be borrowed as surrogate
     federal law for B1 Bundle claims against BP, Plaintiffs have no valid claim against BP under
     Louisiana law. The Louisiana Oil Spill Prevention and Response Act (LOSPRA) is the
     exclusive state law remedy, and Plaintiffs do not assert a LOSPRA claim. And, even if
     LOSPRA did not exist, Plaintiffs‟ nuisance, trespass, and fraudulent concealment claims fail
     to pass muster under Louisiana law. Fourth, even if Florida law was not preempted by
     OCSLA and the CWA, the PDPCA claim must be dismissed because it is inapplicable here.

    Count IV (punitive damages): Plaintiffs‟ punitive damages count must be dismissed because
     (i) there is no cause of action for punitive damages and (ii) punitive damages are not
     recoverable under OPA. See S. Port Marine, LLC v. Gulf Oil Ltd. P’ship, 234 F.3d 58, 65-66
     (1st Cir. 2000) (“Congress‟s very specific treatment of oil pollution in the OPA, which does
     not provide for punitive damages, supplanted general admiralty and maritime law.”).

    Counts V and VI (declaratory relief to impede settlement of OPA claims): Plaintiffs seek to
     undermine the ability of parties to settle OPA claims with a declaration that any “settlement
     provisions” that purport to “release or affect the calculation the punitive damages” are
     “ineffective” (Count V) and a declaration that “the conduct of” BP and the GCCF “in
     obtaining releases and/or assignments of claims … is not an obligation of BP under OPA”
     (Count VI). These Counts should be dismissed because they seek to undermine the purpose
     behind the OPA claims process “to encourage settlement and avoid litigation.” Boca Ciega,
     51 F.3d at 238-39. Releases waiving all claims are valid and facilitate settlement. See
     Ingram Corp. v. J. Ray McDermott & Co., 698 F.2d 1295, 1312 (5th Cir. 1983).

                 COMPLAINT ALLEGATIONS AND BACKGROUND

A.       The Deepwater Horizon Incident.

        The Deepwater Horizon drilling rig was owned and operated by Transocean Ltd. and/or

its affiliates. (B1 Compl. ¶ 220.) BP hired Transocean to use the Deepwater Horizon to drill an

exploration well on the seabed at Mississippi Canyon Block 252 (MC252) located in the Gulf of

Mexico approximately 130 miles southeast of New Orleans and 50 miles southeast of Venice,

Louisiana. On April 20, 2010, a fire and explosion occurred onboard the Deepwater Horizon.

(Id. ¶ 198.) The rig sank on April 22, 2010. Following this incident, the well began to spill oil.

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(Id. ¶ 199.) The National Incident Command and Federal On Scene Coordinator working within

the Unified Command Structure led by the United States Coast Guard, and joined by BP, as well

as by other state/local partners, established and operated an extensive spill response operation.

    B.   BP’s Commitment To Pay All Legitimate OPA Claims.

         After the Deepwater Horizon incident, the Coast Guard designated BPXP a “responsible

party” under the OPA. OPA requires a “responsible party” to receive claims for removal costs

and damages resulting from an oil spill compensable under OPA. See 33 U.S.C. § 2702.

         From the outset, BP expressed that it “is committed to paying all legitimate claims for

damages resulting from the Deepwater Horizon Incident.” (Ex. 2.) Acting on this commitment,

BP initiated its OPA claims process within days of the incident. During the four-plus months

that BP managed its OPA claims process, from late April 2010 until August 23, 2010, BP made

payments of nearly $400 million to individuals and businesses. (See id.) In this initial phase of

the OPA claims process, BP focused upon providing interim payments to claimants. (See Ex. 5.)

         BP implemented agreed measures after meeting with President Obama on June 16, 20101:

         First, BP agreed to transition its process for individual and business claims to a facility

administered by Kenneth Feinberg. BP made this transition to Mr. Feinberg‟s Gulf Coast Claims

Facility (“GCCF”) on August 23, 2010. The GCCF, and Mr. Feinberg as Claims Administrator,

act in order to fulfill BP‟s obligations as an OPA “responsible party”; the GCCF and

Mr. Feinberg exercise their own judgment with respect to evaluation and payment of claims.

(See Ex. 8, GCCF “Frequently Asked Questions” at Questions 1, 3 and 4.)

         Second, BP agreed to establish a $20 billion trust fund that is available to pay claims

resolved by the GCCF, legitimate claims by state and local governments, natural resource

1
 See Exs. 3, 6-9, BP, White House, and GCCF documents; see also MDL 2179, Statement Of United States
Regarding The Court‟s February 2, 2011 Order, at 4-5 (Feb. 18, 2011) [Doc. 1322].

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damage costs pertaining to the Spill, and final judgment or settlement agreements resolved

outside the GCCF that relate to the Spill. (Ex. 9.) As of February 26, 2011, the GCCF has

received claims from 492,775 claimants.             To date, at the direction of Mr. Feinberg,

$3,501,808,909.03 has been paid from the $20 billion trust fund to individuals and businesses

that filed claims with the GCCF. (See Ex. 4, GCCF “Overall Program Statistics” at 1.)

         The GCCF offers several options to claimants: (1) “Emergency Advance Payment” (a

form of interim payment): From August 23 to November 23, 2010, claimants could submit non-

final, interim requests for emergency relief, for damages caused by the Spill, without a release.

(2) “Interim Payment”: From January 2011 through August 22, 2013 claimants may seek

payment once each quarter of each calendar year for documented past damages caused by the

Spill, without a release. (3) “Quick Payment”:           A claimant who received an Emergency

Advance Payment or Interim Payment may choose to sign a release and within 14 days be paid

$5,000 if an individual or $25,000 if a business without having to submit any further

documentation or undergo any further claims review. (4) “Full Review Final Payment”: Under

this option, the claimant seeks a lump sum single payment for all losses and damages recoverable

under OPA, both past and future, caused by the Spill, and must “submit documents that prove the

losses or injuries…claim[ed to be] suffered as a result of the Spill.”2

    C.   Plaintiffs Associated With The B1 Amended Master Complaint.

         Plaintiffs in MDL 2179 before January 12, 2011 have not identified whether or not they

are part of Pleading Bundle B1. On January 12, 2011, this Court ordered that a revised Plaintiff

Profile Form (PPF), which includes a B1 Bundle check box, be used for new complaints

transferred to MDL 2179 and approved a short-form joinder with a B1 Bundle check box. (PTO

2
 See Ex. 8, GCCF FAQs at Questions 14-17, 18-32, 33-53, 54-73; Ex. 10, GCCF Summary of Final and Interim
Payment Options; Ex. 11, GCCF Protocol for Interim and Final Claims.

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25 at ¶¶ 9, 16 [Doc. 983].) Based upon BP‟s review of PPFs, there appear to be approximately

41,939 individual Plaintiffs in the B1 Bundle as of February 22, 2011. Of these, about 40,002

are represented by the Watts Guerra Craft law firm (“Watts firm Plaintiffs”); approximately

1,937 are pro se or represented by various other counsel (“non-Watts firm Plaintiffs”). (See

Ex. 12, Bloom Decl. re Dismissal of Indiv. Pls. at ¶¶ 7-9)

                               STATUTORY FRAMEWORK

       Three federal statutes are significantly implicated by the B1 Amended Master Complaint:

(1) the Outer Continental Shelf Lands Act, (2) OPA, and (3) the Clean Water Act.

A.      The Outer Continental Shelf Lands Act (OCSLA).

       OCSLA declares that “the subsoil and seabed of the outer Continental Shelf appertain to

the United States and are subject to its jurisdiction, control, and power of disposition.” 43 U.S.C.

§ 1332(1). OCSLA establishes “national authority over the OCS at the expense of both foreign

governments and the governments of the individual states.” Tenn. Gas Pipeline, 87 F.3d at 153

(emphasis added). “We have recognized that OCSLA‟s jurisdictional grant is broad, and that the

Act covers a wide range of activity occurring beyond the territorial waters of the states on the

outer continental shelf of the United States.” Texaco Exploration & Prod., Inc. v. AmClyde

Engineered Prods. Co., 448 F.3d 760, 768 (5th Cir. 2006) (citations and internal quotation marks

omitted). This Court has highlighted the breadth of OCSLA. See In re Oil Spill by the Oil Rig

Deepwater Horizon, MDL No. 2179, 2010 WL 3943451, at *3 (E.D. La. Oct. 6, 2010) (“The

Fifth Circuit has held that the jurisdictional grant contained in § 1349(b)(1) is very broad [and

this] reading of the jurisdictional grant of section 1349 is supported by the expansive substantive

reach of the OCSLA.”) (citations and internal quotation marks omitted).

       OCSLA has many purposes, embracing not just resource extraction but (i) protection of

the environment, (ii) consideration of the interests of affected States and local governments, and
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(iii) harmonization of OCSLA with the operations of the OPA of 1990, which establishes the Oil

Spill Liability Trust Fund. Specifically, OCSLA‟s relevant purposes are to:

        (2) preserve, protect, and develop oil and natural gas resources in the Outer
        Continental Shelf in a manner which is consistent with the need (A) to make such
        resources available to meet the Nation‟s energy needs as rapidly as possible,
        (B) to balance orderly energy resource development with protection of the
        human, marine, and coastal environments . . . .

        (4) provide States, and through States, local governments, which are impacted
        by Outer Continental Shelf oil and gas exploration, development, and production
        with comprehensive assistance in order to anticipate and plan for such impact,
        and thereby to assure adequate protection of the human environment; . . . .

        (6) assure that States, and through States, local governments, which are directly
        affected by exploration, development, and production of oil and natural gas are
        provided an opportunity to participate in policy and planning decisions relating
        to management of the resources of the Outer Continental Shelf; . . . .

        (8) establish an oil spill liability fund to pay for the prompt removal of any oil
        spilled or discharged as a result of activities on the Outer Continental Shelf and
        for any damages to public or private interests caused by such spills or discharges;

43 U.S.C. § 1802 (emphasis added).

        National authority over the Outer Continental Shelf (OCS) is exercised in two ways:

        First, OCSLA “makes federal law exclusive in its regulation of the OCS . . . .” Tenn.

Gas Pipeline, 87 F.3d at 153; see also 43 U.S.C. § 1333; Gulf Offshore, 453 U.S. at 480-81

(1981) (“All law applicable to the [OCS] is federal law….”). To fill any “substantial „gaps‟ in

the coverage of federal law, OCSLA borrows the „applicable and not inconsistent‟ laws of the

adjacent States as surrogate federal law.” Gulf Offshore, 453 U.S. at 480-81 (quoting 43 U.S.C.

§ 1333(a)(2)) (emphasis added).3 OCSLA “casts a broad substantive net” and is “intended „to

3
  See also Hufnagel v. Omega Serv. Indus., Inc., 182 F.3d 340, 349 (5th Cir. 1999); Union Tex. Petroleum Corp. v.
PLT Eng’g, Inc., 895 F.2d 1043, 1052 (5th Cir. 1990) (“Any other result here would frustrate the Congressional
purpose that the OCS be treated as an area of exclusive federal jurisdiction within the state where state law will
apply to fill in the gaps in the federal law.”); Laredo Offshore Constructors, Inc. v. Hunt Oil Co., 754 F.2d 1223,
1228 (5th Cir. 1985) (“If the OCSLA was intended only to govern those cases directly implicating the regulatory
and proprietary purposes of the Act, there would have been no need to make available such a broad legal base,
including both civil and criminal laws, upon which courts could draw to fill in anticipated gaps in federal law.”).

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govern the full range of potential legal problems that might arise in connection with operations

on the Outer Continental Shelf.‟” EP Operating, 26 F.3d at 569 (5th Cir. 1994) (citation omitted

and emphasis added).

         Second, OCSLA grants federal District Courts broad jurisdiction to decide any dispute

“arising out of, or in connection with” operations conducted on the OCS.                       See 43 U.S.C.

§ 1349(b)(1) (“[T]he district courts of the United States shall have jurisdiction of cases and

controversies arising out of, or in connection with (A) any operation conducted on the outer

Continental Shelf which involves exploration, development, or production of the minerals, of the

subsoil and seabed of the outer Continental Shelf . . . .”);4 see also EP Operating, 26 F.3d at 569

(capacious jurisdictional grant in OCSLA matches its expansive substantive reach).

    B.   The Oil Pollution Act Of 1990 (OPA).

         Congress enacted OPA “to create a single Federal law providing cleanup authority,

penalties, and liability for oil pollution.” S. Rep. No. 101-94, at 9 (1990), reprinted in 1990

U.S.C.C.A.N. 722, 730 (emphasis added). OPA defines a category of “responsible parties” (33

U.S.C. § 2701(32)); requires “responsible parties” to pay specified cleanup costs (“removal

costs”) and damages “that result from” the incident, 33 U.S.C. §§ 2702(a), (b); and authorizes

responsible parties to initiate contribution actions against “any other person who is liable or

potentially liable” under OPA or another law, 33 U.S.C. § 2709. When a responsible party pays

OPA claims, they are “subrogated to all rights, claims, and causes of action that the claimant has

under any other law.” Id. § 2715. Also, OPA reserves other claims a responsible party such as

BP may have by providing that “[n]othing in this Act … bars a cause of action that a responsible



4
  OCSLA defines “minerals” to include oil. See 43 U.S.C. § 1331(q). The term “operation” is read expansively as
“the doing of some physical act.” Amoco Prod. Co. v. Sea Robin Pipeline Co., 844 F.2d 1202, 1207 (5th Cir. 1988).



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party subject to liability under this Act … has or would have, by reason of subrogation or

otherwise, against any person.” Id. § 2710(c).

         Non-governmental entities may recover the following under OPA: (a) removal costs —

costs incurred for acts taken “which are consistent with the National Contingency Plan;” (b) real

or personal property — damages for “injury to, or economic losses resulting from destruction of,

real or personal property” recoverable by claimants who own or lease property; (c) subsistence

use — damages for “loss of subsistence use of natural resources” recoverable by any claimant

who “uses natural resources which have been injured, destroyed, or lost”; and (d) profits and

earning capacity — damages “equal to the loss of profits or impairment of earning capacity due

to the injury, destruction, or loss of real property, personal property, or natural resources”

recoverable by any claimant. 33 U.S.C. §§ 2702(b)(1), (2).5

         When Congress passed OPA, it included within OPA‟s provisions amendments to the

Clean Water Act § 311, 33 U.S.C. § 1321. See Oil Pollution Act of 1990, Pub. L. No. 101-380,

104 Stat. 484 (Aug. 18, 1990) (OPA Sections 2002, 4201-4202, 4204, 4301, 4304-06 each

amend Clean Water Act Section 311). CWA Section 311 contains the federal executive branch

oil spill cleanup authorities along with federal enforcement powers.6

         Numerous agencies exercise authority under OPA. The Coast Guard administers the Oil

Spill Liability Trust Fund. See 26 U.S.C. § 9509; OPA, 33 U.S.C. §§ 2701(11), 2712, 2716.

5
  Other OPA provisions delimit the available forms of damages relief. See 33 U.S.C. § 2703 (providing defenses to
liability); id. § 2704 (establishing limits on liability); id. § 2705 (covering interest awards and making provisions for
the partial payment of claims; id. § 2707 (special provisions for recoveries by foreign plaintiffs); id. § 2708 (special
provisions for recovery by responsible parties); and id. § 2713(c) (offering claimants an election of remedies
between a private claims payout and going to court).
6
 See CWA § 311(c), 33 U.S.C. § 1321(c) (sets parameters for federal removal authority); CWA § 311(d), 33 U.S.C.
§ 1321(d) (concerns the National Contingency Plan; CWA § 311(j), 33 U.S.C. § 1321(j) (establishing the National
Response System); CWA § 311(l)-(m), 33 U.S.C. § 1321(l)-(m) (miscellaneous administrative provisions); CWA
§ 311(b), 33 U.S.C. 1321(b) (providing graduated monetary penalty regime for releases of oil); CWA § 311(e), 33
U.S.C. § 1321(e) (other civil enforcement provisions, including orders to protect the public health); and CWA
§ 311(f)-(i), 33 U.S.C. § 1321(f)-(i) (additional liability provisions).

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EPA and the Coast Guard administer and enforce CWA Section 311, and NOAA oversees the

natural resource damages assessment (“NRDA”) process (natural resource damages themselves

are referred to as “NRD”). See 33 U.S.C. § 2706.

       The combined OPA/CWA Section 311 regime is complex and comprehensive — and

even more so taking into account the regulations issued under its authority. See, e.g., 15 C.F.R.

pt. 990 (NRD regulations); 33 C.F.R. pts. 133-38 (Coast Guard regulations).             The federal

government‟s response to the Deepwater Horizon incident was particularly complex, drawing

sixteen departments and agencies into the Unified Command process flowing out of the National

Contingency Plan established under OPA and CWA Section 311. (See Ex. 13.)

C.      The Clean Water Act (“CWA”) NPDES Regulatory Regime And The General
        Permit For Macondo Operations On The Outer Continental Shelf.

       The CWA is a “complicated statute . . . where technical definitions are worked out with

great effort in the legislative process.” S.D. Warren Co. v. Maine Bd. of Envtl. Prot., 547 U.S.

370, 380 (2006) (citing H.R. Rep. No. 92-911, at 125 (1972) (“[I]t is extremely important to an

understanding of [§ 402] to know the definition of the various terms used[,] and a careful reading

of the definitions . . . is recommended. Of particular significance [are] the words „discharge of

pollutants‟‟) (emphasis added). The point of the CWA Section 402 program is to "set allowable

pollutant discharge limits for particular locations." Friends of the Earth v. Conrail, 768 F.2d 57,

59 (2d Cir. 1985). The term “discharge of pollutants” is relevant to this motion because, as the

CWA has been interpreted by the Supreme Court, the source location of where the pollutant

“discharge” initially occurs is of immense significance (see infra Part III.B., discussing the

Ouellette case). Here, it is indisputable that discharges comprising the Deepwater Horizon spill

and sinking of the rig initially occurred exclusively in federal waters over the OCS.

       In addition to CWA Section 311, the CWA‟s National Pollutant Discharge Elimination


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System (“NPDES”) is relevant here.              The general permit issued by EPA to govern Shelf

operations for which Louisiana is the “adjacent State” describes the NPDES program as follows:

“NPDES[] means the national program for issuing, modifying, revoking, and reissuing,

terminating, monitoring, and enforcing permits, and imposing and enforcing pretreatment

requirements, under section 307, 318, 402, and 405 of the Act.”7 The Fifth Circuit has described

the function of NPDES permits as “allow[ing] the issuer to assure that the applicant meets any

applicable water quality standards, treatment standards, or schedule of compliance standards in

addition to the basic effluent limitations.” Carr v. Alta Verde Indus., 931 F.2d 1055, 1060 n.3

(5th Cir. 1991). “NPDES permits may be either individual or general; that is, either site-specific

or generally applicable to a whole category or subcategory of point sources. General NPDES

permits are permissible only where the point sources: 1) all involve the same or similar types of

operations; 2) discharge the same types of wastes; and 3) require the same or similar monitoring.

40 C.F.R. § 122.28. The EPA frequently uses such general permits for the oil and gas industry.”

Texas Oil & Gas Ass’n v. EPA, 161 F.3d 923, 929 (5th Cir. 1998).

        NPDES EPA General Permit 290000 applies to Macondo operations. Shelf mineral

lessees such as BP and mobile offshore drilling unit (MODUs) operators were permitted to opt

into EPA General Permit 290000. This NPDES permit establishes a range of restrictions on oil

and gas operations (as well as for any similar operations on Shelf lands off the coast of Texas to

those off the coast of Louisiana). These restrictions range from limits on discharges of drilling

fluid, oil, well treatment fluids, and produced water and sand, to discharges of garbage and

sanitary waste from the human crews of drilling rigs. (See Ex. 14, EPA General Permit 290000.)


7
  Ex. 14, NPDES General Permit for Discharges from the Offshore Subcategory of the Oil and Gas Extraction
Category for the Western Portion of the Outer Continental Shelf of the Gulf of Mexico off the Coasts of Louisiana
and Texas, 18 (June 7, 2007), announced at Notice of Final NPDES General Permit, 72 Fed. Reg. 31,575 (June 7,
2007) (valid until midnight, CST September 30, 2012) [hereinafter EPA General Permit 290000].

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           EPA General Permit 290000 states, in relevant part, as follows — carefully

distinguishing between when it governs in federal waters and when it governs in state waters:

           In compliance with the Federal Water Pollution Control Act [another name for the
           CWA], as amended (33 U.S.C. 1251 et. seq. the “Act”), operators of lease blocks
           in the Oil and Gas Extraction Point Source Category located in Federal waters of
           the Western Portion of the Gulf of Mexico (defined as seaward of the outer
           boundary of the territorial seas off Louisiana and Texas) are authorized to
           discharge to the Western Portion of the Federal Waters of the Gulf of Mexico in
           accordance with the effluent limitations, monitoring requirements, and other
           conditions set forth in Parts I, II, and III hereof.

           Also, operators of lease blocks located in the territorial seas of Louisiana and
           Texas [i.e., not in a federal waters block such as MC252] are authorized to
           discharge produced water from wells located in those lease blocks to the Western
           Portion of the Federal Waters of the Gulf of Mexico in accordance with effluent
           limitations, monitoring requirements, and other conditions set forth in Parts I, II,
           and III hereof. Operators of mobile offshore drilling units (MODUs) located in
           Federal Waters of the Western Gulf of Mexico are required to comply with the
           cooling water intake structure provisions of Part I.B.12 of this permit.

(Ex. 14, EPA General Permit 290000, at 2 (paragraph break added).

           BP expressed its intention to be governed by this General Permit on February 23, 2009,

and was assigned General Permit Number 290110. (See Ex. 15, BP Ltr. to U.S. EPA.)

                                                   ARGUMENT 8

I.         PLAINTIFFS HAVE NO VALID MARITIME CLAIMS AGAINST BP.

A.         OPA Displaces Plaintiffs’ Maritime Claims Against BP.

           Count I alleges claims under general maritime law against BP for negligence, gross

negligence, and willful misconduct. These maritime claims must be dismissed because there is a

federal statute directly on point — the Oil Pollution Act. It is well-settled that federal common

law claims apply only in the absence of an applicable federal statute. Here, OPA squarely

applies and provides a remedy for Plaintiffs. OPA, accordingly, displaces all of Plaintiffs‟


8
    BP reserves all rights to challenge underlying individual complaints of Bundle B1 Plaintiffs.

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federal-common-law claims against BP arising out of discharge incidents — as federal courts

across the nation (including courts in this District) have repeatedly held.

       Where Congress enacts a federal statute on a subject previously controlled by federal

common law, the federal statute displaces claims under the prior common law regime. That is

because federal common law is “subject to the paramount authority of Congress,” New Jersey v.

New York, 283 U.S. 336, 348 (1931), and, thus, “when Congress addresses a question previously

governed by a decision rested on federal common law the need for such an unusual exercise of

lawmaking by federal courts disappears.” City of Milwaukee v. Illinois and Michigan, 451 U.S.

304, 314 (1981) (Milwaukee II).         Where Congress speaks — especially when it speaks

comprehensively, as in OPA — it displaces preexisting federal common law.                See, e.g.,

Middlesex Cnty. Sewerage Auth. v. Nat’l Sea Clammers Ass’n, 453 U.S. 1, 21-22 (1981) (the

Clean Water Act displaced federal common law of nuisance in the area of ocean pollution).

Indeed, the Supreme Court has held, to ensure that federal courts give due deference to Congress,

there is a presumption in favor of displacement of common law claims when a new federal

statute is adopted to control a particular subject area. See Milwaukee II, 451 U.S. at 317.

       It is therefore well-settled that judge-created admiralty doctrines — a form of federal

common law — must give way to the will of Congress reflected in a federal statute. The

Supreme Court has noted: “[e]ven in admiralty, . . . where the federal judiciary‟s lawmaking

power may well be at its strongest, it is our duty to respect the will of Congress.” Nw. Airlines,

Inc. v. Transp. Workers Union of Am., AFL-CIO, 451 U.S. 77, 96 (1981). In the context of

maritime claims, “once Congress addresses a subject . . . the task of the federal courts is to

interpret and apply statutory law, not to create common law.” Id. at 95 n.34. Indeed, federal

courts have found maritime law to be displaced by such statutes as the Clean Water Act, see



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United States v. Dixie Carriers, Inc., 627 F.2d 736, 738 (5th Cir. 1980), the Death on the High

Seas Act, see Mobil Oil Corp. v. Higginbotham, 436 U.S. 618, 625 (1978), and the Equal Pay

Act and Title VII of the Civil Rights Act of 1964, see Nw. Airlines, 451 U.S. at 95-97.

       Congress acted to provide a comprehensive set of remedies against responsible parties for

all cognizable forms of economic loss arising from oil spills in OPA. Since Plaintiffs can seek

recovery for their economic damages under OPA from responsible parties, they must do so, as

those remedies are exclusive. Plaintiffs cannot use maritime law to evade or add to the remedies

chosen by Congress. Nat’l Shipping Co. of Saudi Arabia v. Moran Mid-Atlantic Corp., 924

F. Supp. 1436, 1447 (E.D. Va. 1996), aff’d, 122 F.3d 1062 (4th Cir. 1997), cert. denied, 523 U.S.

1021 (1998) (“[The National Shipping Company of Saudi Arabia (NSCSA)] seeks to escape

OPA‟s limitation provision by bringing multiple counts under general maritime law . . . . [But]

OPA clearly preempts maritime law as to recovery of cleanup expenses and the cost of

compensating injured persons. A Court exercising its admiralty jurisdiction will apply the

general maritime law only in the absence of a relevant federal statute. See East River S.S.

Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 864 (1986). In this case, OPA provides

NSCSA with a remedy against Moran; it, therefore, preempts the general maritime law as to

recovery of cleanup expenses and the cost of compensating third parties.”). Similarly, the First

Circuit recognized in S. Port Marine, displacement by OPA embraces the specific “„area covered

by statute‟ . . . . See Miles [v. Apex Marine Corp., 498 U.S. 19, 31 (1990)] (quoting Mobil Oil

Corp. v. Higginbotham, 436 U.S. 618, 625 (1978)),” and held that “Congress did so intend” for

OPA “to supplant the existing general admiralty and maritime law.” 234 F.3d at 65-66.

       OPA displaces all maritime claims mounted against BP in the B1 Amended Master

Complaint.   OPA provides the sole federal remedy for any claimant seeking recovery for



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damages and/or cleanup costs resulting from an oil spill. See 33 U.S.C. § 2702(a) (establishes

damages and cleanup cost remedies “[n]otwithstanding any other provision or rule of law”). The

scope of the remedies OPA authorizes is set out in 33 U.S.C. § 2702(b), which provides “a

comprehensive list of recoverable damages, including: [1] removal costs; damage to [2] natural

resources and [3] real or personal property; [4] loss of subsistence use of natural resources;

[5] loss of government revenues, [6] lost profits and earning capacity; and [7] costs of increased

or additional public services occasioned by the unlawful act.” S. Port Marine, 234 F.3d at 64.

The remedies recoverable under OPA are thus exclusive. Any maritime remedy or theory of

recovery not authorized by OPA is foreclosed. See Id. at 65 (“[I]n an area covered by statute, it

would be no more appropriate to prescribe a different measure of damage than to prescribe a

different statute of limitations, or a different class of beneficiaries.”).

        Every federal court addressing the issue has held that OPA displaces preexisting, judge-

made maritime claims of the sort Plaintiffs seek to bring against BP here. In Tanguis, this Court

held that “[t]his new scheme [OPA] includes new remedies, which, in many respects, preempt

traditional maritime remedies.” 153 F. Supp. 2d at 867. In Gabarick, this Court held that “all

claims that are recoverable under OPA,” specifically those covered damages enumerated in

§ 2702, “are preempted by OPA.” 623 F. Supp. 2d at 750-51 (emphasis added). Courts in other

jurisdictions agree.9 As courts have recognized, OPA is an expansive and inclusive system of

liability regulation: “OPA „represents Congress‟ attempt to provide a comprehensive framework




9
  In South Port Marine, the First Circuit held that the “scheme is comprehensive” in oil discharge cases, and, thus,
that OPA is “the sole federal law applicable in this area of maritime pollution.” 234 F.3d at 65; see also Seaboats,
Inc. v. Alex C Corp., Nos. 01-12184-DPW, 01-12186-DPW, 00-12500-DPW, 2003 WL 203078, at *11 (D. Mass.
Jan. 30, 2003) (dismissing claims under maritime contribution and indemnity where OPA had provided for recovery
of those damages); Nat’l Shipping Co. of Saudi Arabia, 924 F. Supp. at 1447 (“OPA clearly preempts maritime law
as to recovery of cleanup expenses and the cost of compensating injured persons.”).

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in the area of marine oil pollution.” Tanguis, 153 F. Supp. 2d at 867.10 Congress observed that

OPA “creates a single federal law providing clean up authority, penalties, and liability for oil

pollution.” S. Rep. No. 101-94, at 9 (1990), reprinted in 1990 U.S.C.C.A.N. 722, 730.

         Plaintiffs‟ maritime claims alleged against BP in Count I fall squarely within the scope of

OPA. Certainly, Plaintiffs can point to no gap in OPA that would rebut the presumption in favor

of displacement that exists in these circumstances. As a matter of federal law, Plaintiffs‟ federal

common-law maritime claims against BP are displaced by OPA and must be dismissed.

 B.       Even If Plaintiffs’ Maritime Claims Were Not Displaced By OPA, They Must Be
          Dismissed Pursuant To The Robins Dry Dock Rule.

         Even if Plaintiffs‟ maritime claims against BP were not displaced by OPA, they should

be dismissed for an independent reason. Plaintiffs‟ maritime claims are barred by Robins Dry

Dock & Repair Co. v. Flint, 275 U.S. 303, 309 (1927), which prohibits for general maritime law

tort claims recovery of economic losses absent physical injury to a proprietary interest. See In re

Taira Lynn Marine Ltd. No. 5, LLC, 444 F.3d 371, 377 (5th Cir. 2006) (“It is unmistakable that

the law of this circuit does not allow recovery of purely economic claims absent physical injury

to a proprietary interest in a maritime negligence suit.”).

         To avoid the Robins Dry Dock rule, a maritime plaintiff must demonstrate that (1) it

possesses a sufficient and cognizable interest in the property allegedly damaged; and (2) the

property suffered physical injury such that the situation is not one involving mere economic

injury to the property interest holder. Plaintiffs‟ claims fail under both prongs of the Robins Dry


10
   See also Targa Midstream Servs. Ltd. P’ship v. K-Sea Transp. Partners, LP, No. G-05-629, 2006 WL 2520914,
*2 (S.D. Tex. Apr. 20, 2006) (“OPA created a stricter and more comprehensive liability scheme for oil spill
pollution than had existed under prior legislation . . . .”); Rice v. Harken Exploration Co., 89 F. Supp. 2d 820, 822
(N.D. Tex. 1999) (“[OPA] represents Congress‟s attempt to provide a comprehensive framework in the area of
marine oil pollution.”); cf. Gatlin Oil Co., Inc. v. United States, 169 F.3d 207, 209 (4th Cir. 1999) (Congress enacted
OPA to provide a “prompt, federally-coordinated response to oil spills in navigable waters of the United States and
to compensate innocent victims.”).

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Dock test. See, e.g., G&G Steel, Inc. v. Sea Wolf Marine Transp., LLC, 380 Fed. Appx. 103,

104-05 (2d Cir. 2010) (charterer of a barge‟s duty to maintain it in good condition and pay a

$50,000 insurance deductible did not give it enough of a proprietary interest in the barge to meet

the Robins Dry Dock test); Louisiana ex rel. Guste v. M/V Testbank, 752 F.2d 1019, 1031-32

(5th Cir 1985) (en banc) (affirms summary judgment for defendants pursuant to Robins Dry

Dock where boat operators, seafood enterprises, bait shops, and recreational fishermen brought

general maritime claims were seeking purely economic damages resulting from chemical spill).11

         Nowhere do Plaintiffs allege they suffered physical injury to a proprietary interest. (B1

Compl. ¶¶ 569-677.)12 The “Commercial Fishermen Plaintiffs” and “Processing and Distributing

Plaintiffs” meet neither prong of Robins Dry Dock — they do not own the seafood and their

injuries are economic.           (Id. ¶¶ 209(a)-(b), 614-15.)            “Commercial Business Plaintiffs,”

“Recreational Business Plaintiffs,” “Recreation Plaintiffs,” and “Plant and Dock Worker

Plaintiffs” do not allege any ownership interest, and only consequential economic losses. (Id. ¶¶

209(c)-(f), 616-19.) The same is true for “Banking/Retail Business Plaintiffs,” “Subsistence

Plaintiffs,” “Dealer Plaintiffs,” and “Moratorium Plaintiffs.” (Id. ¶¶ 209(j)-(m), 623-626.)

         Count I.A.-B. must therefore be dismissed for the additional reason that Plaintiffs do not


11
  See also Kingston Shipping Co. v. Roberts, 667 F.2d 34, 35 (11th Cir. 1982) (applying Robins Dry Dock to affirm
dismissal of negligence claims alleging pure economic damages, and rejecting attempts to question the rule‟s
validity); In re Settoon Towing LLC, No. 07-1263, 2009 WL 4730969, at *3 (E.D. La. Dec. 4, 2009) (Robins Dry
Dock bars recovery for pure economic damages from oil well owner‟s inability to access the oil platform due to a
spill); Blue Gulf Seafood, Inc. v. TransTexas Gas Corp., 24 F. Supp. 2d 732, 734-35 (S.D. Tex. 1998) (dismissing
claims of unlicensed oyster farmers who alleged pure economic losses as a result of defendants‟ negligent acts).
12
   While Plaintiffs do allege that “Real Property Plaintiffs” and “Real Property/Tourism Plaintiffs” have “suffered,
inter alia, damage to their real and personal property,” (see B1 Compl. ¶¶ 621-622), they have not specified that
such “damage” was a “physical injury” or that the injury was to a “proprietary interest.” Moreover, in the “Real
Property/Tourism Plaintiffs” the Plaintiffs are mixing in claimants who might be able to meet the ownership prong
of the Robins Dry Dock test (e.g., hotel owners) with “all those who earn their living from the tourism industry” (Id.
¶ 209(i).) Obviously, many of those earning their living from the tourism industry would not be even remotely
eligible to claim an ownership interest in property damaged by oil. Similarly, for “VoO Plaintiffs,” (Id. ¶ 620)
Vessel of Opportunity operators who did not experience boat damage improperly are lumped together with those
that did.

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satisfy the Robins Dry Dock rule that purely economic claims absent physical injury to a

proprietary interest are not recoverable in admiralty. Also, BP moves to dismiss the maritime

claims of 40,002 Watts firm Plaintiffs and 1,752 non-Watts firm Plaintiffs who do not allege

physical injury to a proprietary interest in their complaints or PPFs, and reserves the right to

supplement this list. (See Ex. 12, Bloom Decl. re Dismissal of Indiv. B1 Pls. at ¶¶ 40-48 & Tabs

K-1, K-2)

II.      PLAINTIFFS’ OPA CLAIMS MUST BE DISMISSED FOR FAILURE TO
         SATISFY OPA’S CLAIM PRESENTATION REQUIREMENT.

         Plaintiffs‟ OPA claims against BP (Count II) fail to satisfy OPA‟s compulsory claim

presentation requirement.          Not only must Count II be dismissed, so too must Plaintiffs‟

underlying B1 Bundle complaints. Plaintiffs‟ OPA claims are not yet ripe for adjudication, and

may never be. Also, OPA claims by “VoO Plaintiffs” must be dismissed because OPA does not

permit recovery for injuries that do not result from the Spill. Finally, Plaintiffs‟ request for

natural resource damages is not viable because OPA does not allow private recovery of NRDs.

A.       Plaintiffs Must Satisfy OPA’s Claim Presentation Requirement Before Filing Suit.

         Every would-be B1 Bundle Plaintiff must satisfy OPA‟s compulsory two-step claim

presentation process before filing suit against BP. First, the claimant must “present” a claim to

the GCCF (or to BP if before the GCCF‟s establishment). See 33 U.S.C. § 2713(a). Second, the

claimant may not file a lawsuit until either (a) the claim is denied or (b) a 90-day negotiation

period has expired without settlement of the claim — a period that begins to run after the claim

has been “presented.” See id. § 2713(c) 13


13
  OPA‟s mandatory pre-suit presentment requirement is set forth in 33 U.S.C. § 2713. Subpart (a) provides that “all
claims for removal costs or damages shall be presented first to the responsible party or guarantor of the source
designated under section 2714(a) of this title.” Id. § 2713(a) (emphasis added). Pursuant to subpart (c), only after
“a claim is presented in accordance with subsection (a) of this section,” and “(1) each person to whom the claim is
presented denies all liability for the claim,” or “(2) the claim is not settled by any person by payment within 90 days
after the date upon which (A) the claim was presented, or (B) advertising was begun pursuant to section 2714(b) of

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         Congress created the mandatory OPA claims presentation requirement to encourage

settlement and prompt resolution of claims arising from an oil spill.                               Representative

Hammerschmidt explained in urging passage of OPA, “[t]he system of liability and

compensation provided for in the bill . . . is intended to allow for quick and complete payment

of reasonable claims without resort to cumbersome litigation.” 135 Cong. Rec. H7965 (daily

ed. Nov. 2, 1989) (emphasis added); see also Turner, 2007 WL 4208986 at *2 (“The purpose of

the OPA notice requirement is to promote settlement and avoid litigation.”).

         Compliance by every Plaintiff with OPA § 2713 before filing suit is not a mere

“administrative” requirement as Plaintiffs assert. (B1 Compl. ¶ 689.) Rather, compliance is a

“mandatory condition precedent” to filing suit in court. Boca Ciega, 51 F.3d at 240. In this

regard, courts do not have discretion to stay a complaint until OPA presentment is met. OPA

claims must be “dismissed without prejudice, rather than stayed” if § 2713 was not satisfied.

Gabarick, 2009 WL 102549 at *2; see also Turner, 2007 WL 4208986 at *2 (“The Court will

not waive the notice requirement under OPA.”); Abundiz v. Explorer Pipeline Co., Nos.

300CV2029H, 303CV0508H, 303CV0787H, 2003 WL 23096018, at *5 (N.D. Tex. Nov. 25,

2003) (presentment “must be given prior to the 90 days before filing a lawsuit;” interrogatory

responses “may not be taken into account as part of any [OPA] notice”); Johnson v. Colonial

Pipeline Co., 830 F. Supp. 309, 310 (E.D. Va. 1993) (“If plaintiffs fail to comply with the

prerequisites for bringing such a claim, the OPA claim must be dismissed.”).

         In holding that dismissal is mandatory if a plaintiff failed to comply with OPA‟s claim

presentation requirement before filing suit, courts point to Hallstrom v. Tillamook Cnty., 493

this title, whichever is later, the claimant may elect to commence an action in court against the responsible party or
guarantor or to present the claim to the [Oil Spill Trust] Fund.” Id. § 2713(c). “Claim” is defined as “a request,
made in writing for a sum certain, for compensation for damages or removal costs resulting from an incident.” Id.
§ 2701(3) (emphasis added). See Berthelot v. Boh Bros. Constr. Co., No. 05-4182, 2006 WL 2256995, at *7 (E.D.
La. July 19, 2006) (no jurisdiction if § 2713 is not met).

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U.S. 20 (1989). See Abundiz, 2003 WL 23096018 at *3; Johnson, 830 F. Supp. at 310. At issue

in Hallstrom was the notice provision of the Resource Recovery Act (RCRA) which provides

that no citizen suit can be filed prior to sixty days after the plaintiff has given notice of the

alleged RCRA violation to the alleged permit violator and regulators.                          493 U.S. at 25-26

(interpreting 42 U.S.C. § 6972(b)(1)).                 Plaintiffs argued for a “flexible or pragmatic

construction” of the RCRA provision such that any defect in compliance could be cured by the

court staying the lawsuit until proper notice was given. Id. at 26. The Supreme Court rejected

this idea holding that courts cannot “disregard the plain language” of a statute, and “we are not at

liberty to create an exception where Congress has declined to do so.” Id. at 26-27, 31. Likewise,

federal courts are not at liberty to allow exceptions to OPA‟s compulsory claim presentation rule.

         Importantly, the mere filing of a bare claim is insufficient either to satisfy OPA‟s

requirement to “present” a claim and start the clock running on the 90-day negotiation period.

Instead, to “present” a claim, a claimant must specify the amount of damages being sought

(referred to as a “sum certain,” see 33 U.S.C. § 2701(3)), and provide evidence and information

sufficient for the GCCF (or, in the past, BP) to assess (i) whether the alleged loss satisfies OPA‟s

causation requirements14 and (ii) whether the claimant incurred the amount of damages alleged.

         Courts are rigorous in their review on motions to dismiss, and hold would-be plaintiffs to

the requirement of Section 2713 that they “present” their OPA claim.                             Judge Fallon has

explained: “If the claim does not have the necessary specificity, the responsible party will be

unable to make a[n] informed offer of settlement.” Turner, 2007 WL 4208986 at *2 (grants

14
   Pursuant to OPA, a “responsible party” is liable only for specified damages “result[ing] from” the incident, 33
U.S.C. § 2702(a), and OPA further includes specific causation requirements for each permissible category of
damages. For example, OPA provides that only losses “resulting from destruction of, real or personal property”
may be recovered as property damages. Id. § 2702(b)(2)(B). And, OPA mandates that only losses “due to the
injury, destruction, or loss of real property, personal property, or natural resources” are recoverable as lost earnings
or profits. 33 U.S.C. § 2702(b)(2)(E). Also, OPA requires that a claimant must “use[] natural resources which have
been injured, destroyed or lost” in order to recover subsistence damages. 33 U.S.C. § 2702(b)(2)(C).

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motion to dismiss where § 2713 not met). Granting a motion to dismiss, the Johnson court held:

        [T]the purpose of OPA‟s claim presentation requirement is to enable the parties
        to negotiate, if possible, a settlement of potential claims resulting from an oil spill
        without having to resort to litigation. . . . In order to accomplish this purpose,
        the claim presented must inform the responsible party with some precision of
        the nature and extent of the damages alleged and of the amount of monetary
        damages claimed. Otherwise, the responsible party will be unable to make an
        informed offer of its own, unable to engage in meaningful substantive
        negotiations, and thus unable to settle the matter by agreeing to a final amount.
        Instead, the responsible party will have to ask for a more definite statement of
        the claim, as Colonial has done here, and the 90-day period will be spent trying
        to obtain basic information rather than actually negotiating a settlement.

830 F. Supp. at 311 (emphasis added). In Johnson, the court reviewed a letter by plaintiffs

which purported to present an OPA claim, and held that the letter was “plainly inadequate”:

“Plaintiffs make no effort to describe the nature or extent of these alleged damages, much less

to explain the basis for claiming that these damages have been sustained. They fail to state a

sum certain for any of the types of damages alleged.” Id. (emphasis added). Likewise, in

Gabarick the court reviewed an invoice submitted by plaintiff and ruled that it did not satisfy

OPA‟s “statutory requirements for a proper claim” because it “has not described the manner in

which the oil spill impacted it, nor has it cited evidence in support of its purported claim.”

2009 WL 102549 at *21 (emphasis added); see also Abundiz, 2003 WL 23096018 at *3-5 (court

reviewed Excel files and a letter plaintiffs‟ submitted to the responsible party, found them

“ambiguous” as to the amount in dispute, and held that plaintiffs “did not successfully meet the

sum certain presentation requirement of the OPA”).

B.      Plaintiffs Did Not Satisfy OPA’s Claim Presentation Rule Before Filing Suit.

        Plaintiffs admit that not all among them satisfied OPA‟s claim presentation requirement,

and the PPFs prove this to be true. Thus, Count II is defectively pled, and the underlying suits by

Plaintiffs who did not comply with 33 U.S.C. § 2713 must be dismissed pursuant to Rule



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12(b)(1) and/or Rule 12(b)(6).15

         Based upon Plaintiffs‟ B1 Amended Master Complaint allegations, there can be no doubt

that various Plaintiffs did not satisfy OPA‟s claim presentation requirement before fling suit:

         To the extent required by law, and/or by consent or stipulation of BP, Plaintiffs
         have satisfied, or will have satisfied, all of the administrative requirements of 33
         U.S.C. §§ 2713(a) and (b), as to each and all defendants, by the submission of
         their claims to the Gulf Coast Claims Facility (the “GCCF”) and/or BP and/or its
         agents or designees.

(B1 Compl. ¶ 689 (emphasis added).)

         The task of identifying whether or not each individual Plaintiff satisfied OPA § 2713

before filing suit has fallen to BP. Nowhere do individual Plaintiffs themselves affirmatively

represent that they have complied with § 2713 — not in their underlying complaints and not in

their PPFs.16 At a minimum, individual Plaintiffs should be required to affirmatively plead

compliance with § 2713, and individual Plaintiffs who acknowledge that they have not satisfied

§ 2713 should be required to identify themselves.

         Nonetheless, based upon review of PPFs and information provided to date by the GCCF


15
   Just as the Supreme Court in Hallstrom reasoned that it need not decide whether RCRA‟s notice provision was
“jurisdictional or procedural” because “[a]s a general rule, if an action is barred by the terms of a statute, it must be
dismissed,” 493 U.S. at 31, this Court need not decide whether OPA‟s claim presentation provision is “jurisdictional
or procedural” because dismissal is required by “literal interpretation” of 33 U.S.C. § 2713. See id. Courts dismiss
OPA claims under either Rule 12(b)(1) or Rule 12(b)(6) when § 2713 is not met. See Boca Ciega, 51 F.3d at 240
(holds court lacks subject matter jurisdiction absent a plaintiff‟s compliance with § 2713(a)); Gabarick, 2009 WL
102549 at *3 (§ 2713(c) is a “jurisdictional condition precedent”); Turner, 2007 WL 4208986 at *1-2 (grants Rule
12(b)(6) motion for failure to comply with § 2713); Berthelot, 2006 WL 2256995 at *7 (court lacks jurisdiction
where OPA claim presentation prerequisite has not met); Abundiz, 2003 WL 23096018 at *3 (dismisses for failure to
satisfy § 2713 due to lack of “subject matter jurisdiction”); Marathon Pipe Line Co. v. LaRoche Indus. Inc., 944 F.
Supp. 476, 477 (E.D. La. 1996) (“The Court agrees that § 2713‟s presentation requirement is jurisdictional and
mandates dismissal when that provision is applicable and not complied with by the claimant.”); Johnson, 830 F.
Supp. at 310-11 (dismisses for failure to comply with § 2713; no indication if pursuant to Rule 12(b)(1) or 12(b)(6)).
16
  Of the 41,939 PPFs filed to date by Plaintiffs who appear to fit within the B1 Bundle, 41,529 are associated with
underlying complaints that do not even allege an OPA count. Of the 410 PPFs associated with underlying
complaints that do include an OPA count, only three complaints include any assertion that the plaintiff satisfied
OPA‟s presentment requirement. Allegations in the three complaints are cursory; each alleges: “On or about [date],
[plaintiff] „presented‟ a claim for damages to BP pursuant to, and in compliance with, all applicable rules,
regulations, and laws, including, but not limited to, 33 U.S.C. § 2701, et seq.” (See Ex. 12, Bloom Decl. re
Dismissal of Indiv. B1 Pls. at ¶¶ 10-15 & Tabs A, B, C)

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pursuant to PPF authorizations, BP specifically moves to dismiss the following individual

Plaintiffs for failure to satisfy OPA § 2713 before filing suit, (Ex. 12, Bloom Decl. re Dismissal

of Indiv. B1 Pls.):

         Plaintiffs who admit they have not filed an OPA claim with BP or the GCCF because
          they did not check either box on their PPF form, and, thus, do not satisfy § 2713(a). This
          includes 14,492 Watts firm Plaintiffs and 584 non-Watts firm Plaintiffs. (Id. at ¶¶ 16-21
          & Tabs D, E)

         Plaintiffs who have sought only interim payment from BP or only emergency advance
          payments and/or interim payments from the GCCF, so have yet to submit a claim for the
          full amount of OPA damages they are seeking, and, thus, do not satisfy the “sum certain”
          requirement of § 2713(a). This includes 976 non-Watts firm Plaintiffs. (Id. at ¶¶ 22-27,
          37-39 & Tabs F, J)

         Six non-Watts firm Plaintiffs who have chosen the Quick Payment Final Claim option
          with the GCCF, and, thus, have chosen to accept a final payment and to release and
          waive any claims against BP and all other parties with regard to the oil spill. (Id. at
          ¶¶ 28-30 & Tab G)

         Fourteen non-Watts firm Plaintiffs who have submitted final claims to the GCCF, but the
          90-day negotiation period has not passed. Thus, regardless of whether their GCCF
          submissions satisfy § 2713(a), none of these Plaintiffs have satisfied § 2713(c). (Id. at
          ¶ 31-33 & Tabs H)

         Plaintiffs who have submitted a final claim to the GCCF, but did not provide a "sum
          certain" and/or provided insufficient evidence thereby failing to "present" a claim as
          required by Section 2713(a). This category includes 24 non-Watts firm Plaintiffs. (Id. at
          ¶¶ 34-36 & Tab I)

          BP‟s review of underlying complaints, PPFs, and information released by the GCCF

pursuant to PPF authorizations is ongoing. For example, with regard to 25,510 PPFs for Watts-

firm Plaintiffs indicating on their PPFs that they have filed a claim with the GCCF, the GCCF

has not yet produced any information in response to the PPF authorizations. (Id. at ¶¶ 23-25).

BP reserves its right to seek dismissal of additional individual Plaintiffs as more information and

analysis becomes available.

C.        OPA Does Not Apply To The Claims Alleged By “VoO Plaintiffs.”

          Even if VoO Plaintiffs had fulfilled OPA‟s claim presentation requirement, their claims

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must be dismissed because OPA does not apply. The VoO Program was spill response program

under which BP entered into contracts with local vessel owners who agreed to use their vessels

to assist in spill response activities. (B1 Compl. ¶¶ 506-07; Ex. 16, About VoO Program.) The

complaint defines “VoO Plaintiffs” as “[b]oat captains, crew, charterers, workers, and/or

volunteers involved in the VoO program.” (B1 Compl. ¶ 209)(g).) The VoO Plaintiffs allege

they were damaged because: (i) they were “not adequately compensated for their work or time

in the VoO program”; and, (ii) their property was damaged “as a result of their work in the

VoO program.” (Id. ¶ 209(g).) (emphasis added). The VoO Plaintiffs do not state a claim under

OPA because they concede their damages are a result of the VoO program participation, not a

result of the oil spill.

        A claimant may only recover under OPA if their damages result from a covered incident.

See 33 U.S.C. § 2702 (“[n]otwithstanding any other provision or rule of law . . . each responsible

party for a vessel or a facility from which oil is discharged . . . into or upon the navigable waters

or adjoining shorelines . . . is liable for the removal costs and damages specified in subsection (b)

of this section that result from such incident.”); Taira Lynn, 444 F.3d at 382 (“In order to

recover under § 2702(b)(2)(B) a plaintiff must show that her property was damaged as a result of

a release or threatened release of oil.”); Gatlin Oil Co. v. United States, 169 F.3d 207, 211 (4th

Cir. 1999) (“[R]emoval costs and damages specified in section 2702(b) are those that result from

a discharge of oil or from a substantial threat of a discharge of oil into navigable waters or the

adjacent shoreline.”). Here, VoO Plaintiffs‟ admit their damages did not result from the oil spill

but instead from participation in the VoO Program.          (B1 Compl. ¶ 209(g).)      Where OPA

claimants‟ damages do not result from an oil spill incident, their OPA claims must be dismissed.

See Gatlin, 169 F.3d at 210-12 (OPA inapplicable to damages from a fire following an oil spill).



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D.        OPA Does Not Permit Private Recovery Of Natural Resource Damages.

          Plaintiffs‟ NRD claim (B1 Compl. ¶ 685) cannot proceed because OPA does not allow

for private recovery of NRD‟s. Under OPA, NRD‟s are recoverable only by “a United States

trustee, a State trustee, an Indian tribe, or a foreign trustee.” 33 U.S.C. § 2702(b)(2)(A).

III.      PLAINTIFFS HAVE NO VALID STATE LAW CLAIMS AGAINST BP.

          Count III appears to assert trespass, nuisance and fraudulent concealment claims under

the law of every Gulf Coast State and perhaps beyond. And Plaintiffs assert a Florida Pollutant

Discharge Prevention and Control Act (PDPCA) claim, yet conspicuously omit to bring a

Louisiana Oil Spill Prevention and Response Act (LOSPRA) claim. These state law claims are

not valid and must be dismissed:

      First, under OCSLA, Louisiana, as the “adjacent State,” is the only State whose laws
       could conceivably be applied as borrowed surrogate federal law to claims arising out of the
       Deepwater Horizon oil spill. The laws of Alabama, Florida, Mississippi, and Texas (or
       beyond) are preempted pursuant to OCSLA and can have no application to the incident.

      Second, under the Supreme Court‟s Ouellette line of precedent, the law of all impacted
       States (Louisiana included) is preempted by the CWA.

      Third, there is no role here for Louisiana law as borrowed surrogate federal law pursuant
       to OCSLA because the comprehensive Clean Water Act and OPA regimes leave no gap in
       federal law as to claims against BP, and hence there is no gap needing to be filled by the law
       of the adjacent State.

      Fourth, even if there was a “gap” in federal law such that Louisiana law was applicable to
       claims against BP as borrowed surrogate federal law, Plaintiffs have no valid claims under
       Louisiana law: (a) LOSPRA would provide the exclusive remedy, and Plaintiffs do not
       assert a LOSPRA claim; and (b) even absent LOSPRA, Plaintiffs do not allege the Louisiana
       law prerequisites for nuisance, trespass and fraudulent concealment claims.

      Finally, even if Florida law was not preempted by the CWA and OCSLA, Plaintiffs‟ claims
       under the PDPCA must be dismissed because it is inapplicable here.

A.        Pursuant To OCSLA, The Laws Of Non-Adjacent States, Such As Alabama,
          Florida, Mississippi and Texas, Are Preempted and Cannot Apply Here.

          To the extent Plaintiffs assert non-Louisiana state law claims under Count III, they must


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be dismissed because OCSLA specifies that federal law must apply to operations on the Shelf,

and dictates that only the laws of a single “adjacent State” may be borrowed as surrogate federal

law in the event of a gap in actual federal law. Plaintiffs‟ alleged damages stem from operations

on the Shelf, namely the discharge of oil from MC252, and Louisiana is indisputably the

“adjacent State.” Thus, the laws of non-adjacent States have no application here.

        OCSLA establishes the Shelf as a “federal enclave” such that federal law applies to

operations there. See 43 U.S.C. § 1332(1) (“[T]he subsoil and seabed of the outer Continental

Shelf appertain to the United States and are subject to its jurisdiction, control and power of

disposition.”).17 Accordingly, under OCSLA:

        The Constitution and laws and civil and political jurisdiction of the United States
        are extended to the subsoil and seabed of the outer Continental Shelf and to all
        artificial islands, and all installations and other devices permanently or
        temporarily attached to the seabed, which may be erected thereon for the purpose
        of exploring for, developing, or producing resources therefrom, or any such
        installation or other device (other than a ship or vessel) for the purpose of
        transporting such resources, to the same extent as if the outer Continental Shelf
        were an area of exclusive Federal jurisdiction located within a State . . . .

Id. § 1333(a)(1) (emphasis added). The Supreme Court has explained that “[t]he intent behind

OCSLA was to treat the artificial structures covered by the Act as upland islands or as federal

enclaves within a landlocked State.” Offshore Logistics, Inc. v. Tallentire, 477 U.S. 207, 217

(1986) (emphasis added).18           As the Fifth Circuit explained, OCSLA establishes “national


17
   Areas of “exclusive Federal jurisdiction located within a State” are known as “federal enclaves.” See, e.g.,
BLACK‟S LAW DICTIONARY (9th ed. 2009) (“Examples of federal enclaves are military bases, national parks,
federally administered highways, and federal Indian reservations. The U.S. government has exclusive authority and
jurisdiction over federal enclaves.”) (emphasis added).
18
  See also Rodrigue v. Aetna Cas. & Sur. Co., 395 U.S. 352, 355 (1969) (“[OCSLA] makes it clear that federal law,
supplemented by state law of the adjacent State, is to be applied to these artificial islands as though they were
federal enclaves in an upland State.”); Texaco Exploration & Prod., Inc. v. AmClyde Engineered Prods. Co., 448 at
772 (5th Cir. 2006) (same), amended in irrelevant part on reh’g, 453 F.3d 652 (5th Cir. 2006); Demette v. Falcon
Drilling Co., 280 F.3d 492, 498 (5th Cir. 2002) (“a device temporarily attached to the seabed, which was erected on
the OCS for the purpose of drilling for oil” falls within the scope of § 1333(a)(1)), overruled in irrelevant part by
Grand Isle Shipyard, Inc. v. Seacor Marine, LLC, 589 F.3d 778 (5th Cir. 2009) (en banc).

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authority over the OCS at the expense of both foreign governments and the governments of the

individual states” and “makes federal law exclusive in its regulation of the OCS . . . .” Tenn.

Gas Pipeline, 87 F.3d at 153 (emphasis added).

         State law, accordingly, does not apply to actions stemming from operations on the Shelf

unless it applies under OCSLA. And OCSLA makes clear that only the law of the “adjacent

state” applies as borrowed federal law to fill in gaps in actual federal law:

         To the extent that they are applicable and not inconsistent with this subchapter
         or with other Federal laws and regulations of the Secretary now in effect or
         hereafter adopted, the civil and criminal laws of each adjacent State, now in
         effect or hereafter adopted, amended, or repealed are declared to be the law of
         the United States for that portion of the subsoil and seabed of the outer
         Continental Shelf, and artificial islands and fixed structures erected thereon,
         which would be within the area of the State if its boundaries were extended
         seaward to the outer margin of the outer Continental Shelf, and the President shall
         determine and publish in the Federal Register such projected lines extending
         seaward and defining each such area.

43 U.S.C. §1333(a)(2)(A).19 Cf. Assimilative Crimes Act, 18 U.S.C. § 13 (incorporating the law

of the State in which a federal enclave is situated to act as surrogate federal law). As the Fifth

Circuit explained, the law of the “adjacent state” is applied only “to fill in the gaps in the federal

law.” Union Tex. Petroleum Corp. v. PLT Eng’g, Inc., 895 F.2d 1043, 1052 (5th Cir. 1990).

         Louisiana is the “adjacent state” for application of OCSLA to the Deepwater Horizon

incident and resulting discharge of oil from MC252.20 See In re Oil Spill, 2010 WL 3943451 at


19
  OCSLA Section 1333(a)(2) is often called OCSLA‟s “choice of law” provision, but this is a misnomer. Choice of
law matters involve situations in which there are one or more candidate bodies of law that a court might be able to
apply based on a set of balancing tests applied to the individual facts of a case in which the parties might be diverse
or their conduct touches multiple jurisdictions, or where, in a contractual setting, the parties to a contract made a
selection for a particular jurisdiction‟s law at the time of formation. There is no “choice” involved in
§ 1333(a)(2)(A) because, as it has been interpreted by the Fifth Circuit, it directs the application of federal law
where it exists, or the law of a single, adjacent State for gap-filling purposes. See, e.g., Union Tex. Petroleum, 895
F.2d at 1052. The provision thus must be read as a mandatory directive by Congress as to what law controls the
Shelf‟s territory and activities, not as an invitation to judicial discretion as to which body of law to select.
20
   “[F]our types of evidence” are considered by a district court to determine which State is adjacent to an OCS
location: “(1) geographic proximity; (2) which coast federal agencies consider the subject platform to be „off of‟;
(3) prior court determinations; and (4) projected boundaries.” Snyder Oil Corp. v. Samedan Oil Corp., 208 F.3d

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*3 (“Defendants were exploring and producing minerals, namely oil, from the outer Continental

Shelf. It is these activities that allegedly caused the April 20, 2010 explosion and the resulting

oil spill.”). The OCSLA system of regulation and the very idea of a federal enclave would be

nullified if multiple state laws could supply statutory or tort duties to operations on the Shelf to

impose on rig owners, lessees, and operators a hodgepodge of duties governing the same project

or set of operations. Thus, Plaintiffs‟ non-Louisiana state law claims must be dismissed.

B.      Pursuant To The Supreme Court’s Ouellette Line Of Precedent, The Clean Water
        Act’s Comprehensive Regime Preempts All Of The Plaintiffs’ State Law Claims,
        Including Claims Under The Laws Of Louisiana.

        Plaintiffs‟ attempt to assert state law claims against BP runs afoul of Ouellette, 479 U.S.

481, and its progeny. Ouellette flatly barred an impacted State from applying its tort laws to

water pollution originating outside that State, in a different source State. As this line of cases

establishes, regulation of interstate water pollution is a matter of federal law alone pursuant to

the Clean Water Act. Only the tort laws and regulations of the source State from which the

water pollution originates may be applied. Here, the pollution originates from oil spilled from

MC252 on the Shelf in the Gulf of Mexico, so the source location is a federal enclave rather than

a State. This makes Ouellette preemption even stronger because OCSLA‟s applicability means

that only federal law can regulate water pollution from Shelf waters, not the laws of the impacted

Gulf Coast States. As noted above, under OCSLA, federal law applies exclusively to Shelf

operations, and to the extent Louisiana law could ever apply, it would only be by virtue of


521, 524 (5th Cir. 2000). With regard to MC252, where the incident occurred, Louisiana is geographically closer
than any other Gulf Coast State. (See Ex. 17, Deepwater Horizon Incident Map.) Courts have concluded that OCS
locations within the Mississippi Canyon field are adjacent to the State of Louisiana and have applied Louisiana law
as surrogate federal law. See, e.g., Ronquille v. MMR Offshore Servs., Inc., 353 F. Supp. 2d 680 (E.D. La. 2004)
(Mississippi Canyon Block 809); Dennis v. Bud’s Boat Rental, Inc., 987 F. Supp. 948 (E.D. La. 1997) (Mississippi
Canyon Block 20). Lastly, if the state boundary between Louisiana and its bordering Gulf Coast States is projected
seaward, the incident would be located on the Louisiana side of such boundaries. Judicial notice has been taken of
the applicable factors of the Snyder Oil test. See Bourg v. BT Operating Co., No. H-08-0596, 2009 WL 960011, at
*4 (S.D. Tex. Apr. 8, 2009) (considers maps and online resources to find “Louisiana is clearly the nearest state”).

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Louisiana being the “adjacent state” such that OCSLA would need to borrow Louisiana law as

federal law to gap fill. But given the comprehensiveness of the CWA regulatory regime as

recognized in Ouellette and that regime‟s indisputable applicability to the Shelf, no such gap

exists here as to BP or any party covered by EPA General Permit 290000.

        Ouellette arose after the Milwaukee II decision (see supra Part I.A), which held that the

federal common law of interstate water pollution was displaced by the regulatory regime

established by the 1977 CWA amendments. See 451 U.S. 304 (1981). Ouellette expanded on

Milwaukee II to hold that the CWA not only displaced federal common law, it also preempted

attempts by States to regulate in the area of interstate water pollution: “[T]he regulation of

interstate water pollution is a matter of federal, not state, law . . . .” 479 U.S. at 488.21

        Ouellette involved a situation in which the International Paper Company operated a mill

on New York‟s side of Lake Champlain that was directly impacting landowners on the other side

of the lake in Vermont, who sought to invoke Vermont nuisance law, alleging that water

pollution discharges from the mill were “diminishing the value of their property.” Id. at 484.

Despite the fact that International Paper was foreseeably sending pollution from New York into

Vermont waters, the Supreme Court held that any attempt to apply Vermont tort law to those

discharges was preempted by the CWA. “After examining the CWA as a whole, its purposes

and its history, we are convinced that if affected States were allowed to impose separate

discharge standards on a single point source, the inevitable result would be a serious interference

21
  Ouellette is recognized as one of the leading conflict preemption cases decided by the Supreme Court. Numerous
decisions invoke Ouellette. See, e.g., Ting v. AT&T, 319 F.3d 1126, 1135 (9th Cir. 2003) (telecommunications
preemption); Orson, Inc. v. Miramax Film Corp., 189 F.3d 377, 383 (3d Cir. 1999) (copyright preemption); Am.
Agric. Movement, Inc. v. Bd. of Trade of Chicago, 977 F.2d 1147, 1155 (7th Cir. 1992) (commodity futures
preemption); Taylor v. Gen. Motors Corp., 875 F.2d 816 (11th Cir. 1989) (automobile safety preemption); (In
Freightliner Corp. v. Myrick, 514 U.S. 280 (1995), the Supreme Court repudiated its earlier view that the presence
of an express preemption clause in a statute weakened a court‟s ability to find conflict preemption. American
Agricultural Movement and Taylor were decided before Myrick, but remain good law in finding conflict preemption
because those courts labored under a constraint on implied preemption the Court lifted in Myrick.)

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with the achievement of the „full purposes and objectives of Congress.‟” Id. at 493-94 (quoting

Hillsborough Cnty. v. Automated Med. Labs., Inc., 471 U.S. 707, 713 (1985)). “In this case the

application of Vermont law against [International Paper] would allow respondents to circumvent

the NPDES permit system, thereby upsetting the balance of public and private interests so

carefully addressed by the Act.” 479 U.S. at 494. The Ouellette Court also spotlighted that

application of state nuisance law in the interstate context would be especially problematic. See

id. at 497 (“often . . . „vague‟ and „indeterminate‟” state nuisance law would impose, in effect, a

“chaotic regulatory structure” that would disrupt the calibrated federal NPDES program).

       Notably, Ouellette rejected the argument that Vermont‟s state tort law would merely

supplement the regulatory directives of the CWA. See Id. at 486-87. “In determining whether

Vermont nuisance law „stands as an obstacle‟ to the full implementation of the CWA, it is not

enough to say that the ultimate goal of both federal and state law is to eliminate water pollution.

A state law also is pre-empted if it interferes with the methods by which the federal statute was

designed to reach this goal.” Id. at 494 (citation omitted). The Supreme Court made the point,

fully applicable to Shelf operations governed exclusively by federal law, that the tort duties of

impacted States projected into a source State could interfere with how NPDES-permitted parties

in the source State conduct their affairs under the federal CWA laws and regulations applicable

in the source State:

       If the Vermont court ruled that respondents were entitled to the full amount of
       damages and injunctive relief sought in the complaint, at a minimum
       [International Paper] would have to change its methods of doing business and
       controlling pollution to avoid the threat of ongoing liability. In suits such as this,
       an affected-state court also could require the source to cease operations by
       ordering immediate abatement. . . . . The inevitable result of such suits would
       be that Vermont and other States could do indirectly what they could not do
       directly — regulate the conduct of out-of-state sources.

Id. at 495 (emphasis added).


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       Thus, Plaintiffs‟ attempt to project the law of impacted Gulf States onto the Shelf must be

rejected under Ouellette. “If common law nuisance claims were held to be an exception to

general federal preemption in this area, such would be the exception that swallows the rule . . . .

The result would be a complete rewriting of the regulatory scheme and the elimination of state

and federal regulatory agencies from regulation of industrial discharge into waters, and placing

in their stead various courts to cobble together regulations from common law doctrines.” Haynes

v. Blue Ridge Paper Prods., Inc., No., 2010 WL 3075738, at *6 (W.D.N.C. Aug. 5, 2010).

       After Ouellette a similar issue arose when the State of Oklahoma sought to apply its

statutory water quality standards (authorized by the CWA) to pollutant discharges occurring

upriver in Arkansas. See Arkansas v. Oklahoma, 503 U.S. 91 (1992). The Supreme Court

approved of EPA‟s grant of a permit to the Arkansas sewage treatment plant, notwithstanding

Oklahoma‟s claim that its water quality standards prohibited the grant of such a permit. The

Supreme Court reaffirmed its Ouellette holding emphasizing that Ouellette held that in interstate

water pollution situations, it is federal authorities that are exclusively entrusted with discretion to

address impacts on affected States from out-of-State water pollution, and that impacted States (or

private plaintiffs wielding state tort law) cannot take matters into their own hands and apply their

own state law to water pollution originating outside the State. Instead, the recourse for impacted

States and their citizens is to request EPA to protect their state waters consistent with federal

law. See id. at 100 n.6 (“The affected State may try to persuade the federal government or the

source state to increase effluent requirements, but ultimately possesses no statutory authority to

compel that result, even when its waters are adversely affected by out-of-state pollution.”). Here,

the general permit governing BP‟s operations on the Shelf off the coasts of Louisiana and Texas

reflects that EPA consulted with those States. See 72 Fed. Reg. 31,575 (June 7, 2007); see also



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Ouellette, 479 U.S. at 490 (“Even though it may be harmed by the discharges, an affected State

only has an advisory role in regulating pollution that originates beyond its borders.”).

       The Ouellette and Arkansas precedent is fully applicable to water pollution originating

from oil discharges from the Macondo well on the Shelf into the Gulf of Mexico impacting Gulf

Coast States. As noted above, BP conducted operations at the Macondo well in connection with

an EPA General Permit under the CWA‟s NPDES permitting system. It was the NPDES

permitting system that the Supreme Court in Ouellette held preempts the tort laws of impacted

States outside of the area where a NPDES-regulated discharge arose. See Ouellette, 479 U.S. at

494. The only difference between the NPDES permit applicable to BP here and the NPDES

permit at issue in Ouellette is that New York issued the latter permit whereas EPA issued the

NPDES permit here. That difference is not material. There is no indication in Ouellette that the

fact that operations take place under a federal NPDES permit as opposed to under a state NPDES

permit would diminish the preemptive effect created by the CWA‟s NPDES program. Logic

suggests that the rationale for preemption is stronger here, since EPA is the issuing authority for

federal NPDES permits, not a State, and because Plaintiffs invoke multiple impacted States‟ tort

laws. See Sullivan v. Leaf River Forest Prods., Inc., 791 F. Supp. 627, 633 (S.D. Miss. 1991)

(“[I]n cases which involve multiple state regulations applied to a single discharge site, federal

law must prevail and preempts any state law claims. This avoids the necessity of a court

applying two different sets of state pollution laws and deciding which is most applicable when

the source of the pollution is in one state and that pollution crosses into another state.”).

       Courts give Ouellette a straightforward reading to preempt state attempts to regulate out-

of-state discharges. See, e.g., In re Operation of Mo. River Sys. Litig., 418 F.3d 915, 918 (8th

Cir. 2005) (North Dakota attempt to argue federal management of Missouri River water levels



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violated state water quality standards preempted based in part on Ouellette); Lane v. Champion

Int’l Corp., 827 F. Supp. 701, 702 n.2 (S.D. Ala. 1993) (Alabama residents‟ attempt to apply

Alabama law of “negligence, wantonness, breach of duty to warn, fraud, misrepresentation,

deceit, nuisance, trespass, battery, assault, negligent infliction of emotional distress, intentional

infliction of emotional distress, outrage, and strict liability” preempted by Ouellette, which

required application of Florida law as the source State); State Line Fishing & Hunting Club, Inc.

v. City of Waskom, 754 F. Supp. 1104, 1113 (E.D. Tex. 1991) (“The state law of the source state

(Texas) and not the affected state (Louisiana) applies to determine whether defendant‟s discharge

of effluents into State Line Lake constitutes a nuisance.”).

        Accordingly, all state law claims against BP alleged by Plaintiffs, including those under

the laws of Louisiana, are barred by the Ouellette line of precedent which precludes impacted

States from applying their own state laws to interstate water pollution originating elsewhere.

C.      There Is No “Gap” In Federal Law Permitting Application Of Louisiana Law, The
        “Adjacent State” Here, As Borrowed Surrogate Federal Law Under OCSLA.

        OCSLA applies the law of a single, determinate adjacent State as borrowed surrogate

federal law to fill substantial “gaps” or “voids” in actual federal law.           Hence, to avoid

preemption by OCSLA and the collective regulatory regimes of OPA and the CWA, two

conditions must both be met: (i) a plaintiff must be attempting to apply the law of the adjacent

State (not the law of a non-adjacent State, which is wholly preempted by OCSLA); and (ii) a

plaintiff must identify a substantial gap or void in federal law. As to BP, Plaintiffs‟ state law

claims do not meet either, let alone both tests. OPA establishes a federal compensatory regime

for those impacted by an oil spill, and that regime is fully applicable against BP.

        For an OPA “responsible party,” finding an OCSLA gap that would allow Louisiana law

to apply as borrowed federal law is not possible. OPA‟s comprehensiveness in the field of


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compensating for oil spill damages makes it similar to the Longshore and Harbor Workers‟

Compensation Act (“LHWCA”), of which the Fifth Circuit has said that “no more

comprehensive a workers‟ compensation scheme could be mapped out than the LHWCA. It

explicitly provides for settlements, and no [OCSLA] gap-filling is required.” Oceanic Butler,

Inc. v. Nordahl, 842 F.2d 773, 777 n.4 (5th Cir. 1988); see also Olsen v. Shell Oil Co., 708 F.2d

976, 983 (5th Cir. 1983) (“[T]here are no gaps in the federal law on computation of interest to be

filled by the Louisiana interest statute.”) (internal quotation marks and citation omitted). OPA is

a considerably more complex and intricate statute than the LHWCA, especially when its

interlocking nature with the regulatory regime of the CWA is considered.

         Beyond the fact there is no gap to fill, LOSPRA would be Plaintiffs‟ exclusive remedy

under Louisiana law. See infra Part III.D.1. LOSPRA cannot serve as a gap-filling statute not

only because of the Ouellette doctrine, but also because a “significant void” is required under

OCSLA before any form of gap-filling can be contemplated. LOSPRA is not intended to fill a

“significant void,” but only as the most interstitial of statutes.                     The Louisiana Legislature

designed LOSPRA in recognition of OPA‟s comprehensive nature. 22

 D.       Even If Louisiana Law Was Applicable Here, Plaintiffs Have No Valid Claims
          Under Louisiana Law.

         Even if there was a “gap” that would permit the borrowing of Louisiana law (the


22
   See Nations v. Morris, 483 F.2d 577, 585 (5th Cir. 1973) (explains “significant void” requirement; holds
employee‟s claim that “the Louisiana Workmen‟s Compensation Act with its freedom to sue fellow employees is
„applicable‟ as surrogate federal law is too frail a craft to venture to the Outer Continental Shelf.”), cert. denied, 414
U.S. 1071 (1973). “The [Louisiana] legislature declares that it is the intent of [LOSPRA] to support and
complement the Oil Pollution Act of 1990 . . . and other federal law, specifically those provisions relating to the
national contingency plan for cleanup of oil spills and discharges, including provisions relating to the
responsibilities of state agencies designated as natural resources trustees. The legislature intends [LOSPRA] to be
interpreted and implemented in a manner consistent with federal law.” La. R.S. § 30:2453(B) (emphasis added); see
also La. Admin. Code, Title 43, Part XXIX § 101(B) (“These rules shall be interpreted and implemented in a
manner consistent with federal law. Any conflict between a provision of these rules and the National Oil and
Hazardous Substances Pollution Contingency Plan . . . and/or the Oil Spill Prevention and Response Act . . . should
be resolved in favor of the cited authorities.”).

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“adjacent state”) as surrogate federal law pursuant to OCSLA (and there is not), Plaintiffs‟

nuisance, trespass and fraudulent concealment claims fail under Louisiana law. LOSPRA would

be Plaintiffs‟ exclusive remedy, and, even absent LOSPRA, Plaintiffs‟ state law claims must be

dismissed for failure to allege prerequisites for asserting such claims under Louisiana law.

               1.      LOSPRA Would Be Plaintiffs’ Exclusive Remedy If Louisiana Law
                       Applied, And Plaintiffs Do Not Assert A LOSPRA Claim.

       Plaintiffs do not assert a LOSPRA claim. Yet LOSPRA is the exclusive authority for oil

spill response, natural resource damage assessment, and liability under Louisiana law. LOSPRA

was enacted in 1991 “to assist the legislature in fulfilling its duties to protect, conserve, and

replenish the natural resources of this state in accordance with . . . the Constitution of Louisiana.”

La. R.S. § 30:2453(A). Thus, Plaintiffs‟ claims against BP for nuisance, trespass and fraudulent

concealment must be dismissed for the independent reason that they are barred by LOSPRA.

       By its terms, LOSPRA is “the exclusive authority on oil spill prevention, response,

removal, and the limitations of liability” under Louisiana law, and its provisions broadly apply to

any “responsible party” as well as “potentially responsible party” for an oil spill. Id. §§ 30:2496,

30:2454(22) (emphasis added), § 30:2480(G); see also La. Admin. Code, Title 43, Part XXIX §

115(A). LOSPRA expressly supersedes other causes of action conflicting with LOSPRA. See

La. R.S. § 30:2491(A) (“When applicable, the limitations of liability and immunities provided in

[LOSPRA] shall be exclusive and shall supersede any other liability provisions provided by any

other applicable state law.”). Plaintiffs claims for nuisance, trespass, and fraudulent concealment

damages are all based on alleged losses from property contamination. (B1 Compl. ¶¶ 691-731.)

Because LOSPRA applies to “damages for injury to, or economic loss resulting from destruction

of, immovable or corporeal movable property,” Plaintiffs‟ state law claims are inconsistent with

LOSPRA. See La. R.S. § 30:2454(5). This is a critical feature of LOSPRA because without the


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liability limitations and caps LOSPRA could not operate properly.              See Id. § 30:2479

(eestablishes detailed caps on damages and removal costs attributable to responsible parties).

       A “responsible party” is defined under LOSPRA to include: “(c) Any other person . . .

who causes, allows, or permits an unauthorized discharge of oil or threatened unauthorized

discharge of oil.” La. R.S. § 30:2454(22) (emphasis added). This LOSPRA catch-all category

for any person who causes an unauthorized discharge of oil is broader than OPA, which does not

include such a catch-all category. See 33 U.S.C. § 2701(32) (defines OPA responsible parties

only as certain owners, operators, and lessees). It is LOSPRA‟s coverage of any party that may

have had a causal role in a spill that may fill any gaps in OPA. As to BP, an OPA “responsible

party,” however, there is no such gap.

       LOSPRA provides that “[t]he provisions of this Chapter shall supersede . . . any

conflicting laws of this state.” La. R.S. § 30:2491(A); see also id. § 30:2496. LOSPRA‟s

exclusive remedies bar is fully applicable to the state law claims being pursued here by Plaintiffs

against BP. Accordingly, Plaintiffs‟ state law claims are preempted by LOSPRA as a matter of

Louisiana law.      It can be surmised that the Plaintiffs are well aware of LOSPRA and its

exclusivity provision, which is why they scrupulously avoided pleading the statute, instead filing

a claim only under Florida‟s PDPCA. (See B1 Compl. Count III.D.)

               2.       Plaintiffs Fail To Allege Necessary Prerequisites For Asserting A
                        Nuisance Claim Under Louisiana Law.

       Plaintiffs‟ nuisance claim (Count III.A) must be dismissed for failure to satisfy the

“neighbor” requirement of Louisiana Civil Code Article 667, and for failure to allege physical

injury to a proprietary interest which is necessary to overcome the economic loss rule.

       First, Plaintiffs do not allege that they own property that adjoins BP‟s property, (see B1

Compl. ¶¶ 209(h)-(i), 691-99), nor could they, yet such allegations are a prerequisite for


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asserting a nuisance claim under Louisiana law. As this Court has recognized, “nuisance,”

defined in Louisiana Civil Code Articles. 667-69, “is limited to the obligations proprietors owe

to their neighbors,” and a plaintiff thus cannot “be a party whose property is physically remote

and not adjacent to Defendants‟ property.” Barasich v. Shell Pipeline Co., Nos. 05-4180, 05-

4197, 05-4199, 05-4212, 06-5102, 2006 WL 3913403, at *8 (E.D. La. Nov. 20, 2006) (Barbier,

J.) (emphasis added). According to the Louisiana Supreme Court, liability under Article 667

arises only “when activity by one party holding a right to immovable property has caused

damages to a party holding a right to a neighboring property.” Inabnet v. Exxon Corp., 93-0681

(La. 9/6/94); 642 So. 2d 1243, 1251-52. Here, the Deepwater Horizon lies approximately 47

miles offshore, and is the undisputed origin of the “contaminants and noxious odors” (B1 Compl.

¶ 696) of which Plaintiffs complain. Indeed, Plaintiffs themselves point out that the damage

occurred as a result of “the migration” of those substances (id.), not a direct intrusion from one

property onto another. Plaintiffs cannot demonstrate that they are “neighbors” in any sense of

the term. Thus, Plaintiffs‟ cannot state a claim for nuisance under Louisiana law.23

        Second, the economic loss rule applies to nuisance claims brought under Louisiana law,

and prohibits recovery for economic losses where there is no physical injury to a proprietary

interest. See TS&C Invs., LLC v. BEUSA Energy, Inc., 637 F. Supp. 2d 370, 376 (W.D. La.

2009) (holding “the economic loss rule applies in this case” where plaintiffs assert an Article 667

claim, and dismissing complaint on grounds that plaintiffs, property owners located miles away
23
   See TS&C Invs., LLC v. BEUSA Energy, Inc., 637 F. Supp. 2d 370, 381-84 (W.D. La. 2009) (dismissing Article
667 claim on ground “neighbor” requirement not met in putative class action alleging damages against companies
involved in placement and drilling of an oil well after oil well blowout caused closure of interstate highway where
named plaintiffs were located miles away from the well blowout site); Barasich, 2006 WL 3913403 at *8
(dismissing Article 667 claim on ground that “neighbor” requirement not met by plaintiffs who fished commercially
in waters where oil migrated after rupture of defendant‟s crude oil pipeline that traversed a levee); Barasich v.
Columbia Gulf Transmission Co., 467 F. Supp. 2d 676, 690-91 (E.D. La. 2006) (Vance, J.) (dismissing Article 667
claim in part on ground that “neighbor” requirement not met where plaintiffs were inland property owners alleging
that defendant oil and gas companies‟ dredging of canals through Louisiana marshlands contributed to the
destructive impact of Hurricanes Katrina and Rita to inland communities).

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from oil well blowout site, “do not have a proprietary interest in any property that was damaged

and have not alleged injuries either to themselves or their properties.”) Here, Plaintiffs‟ nuisance

claim is likewise barred by the economic loss rule because they do not allege physical injury to a

proprietary interest. (See B1 Compl. ¶¶ 209(h)-(i), 692-93.)24

                  3.       Plaintiffs’ Trespass Claim Is Brought By Individuals And Businesses
                           Who Do Not Meet The Prerequisites For Asserting Such A Claim.

         Plaintiffs‟ trespass claim (Count III.B) must be dismissed for the independent reason that

it is overly broad, for the claim is brought on behalf of Plaintiffs who are not owners of a

property that has been physically invaded as a result of the Spill. Under Louisiana law, “[a]

trespass occurs when there is an unlawful physical invasion of the property of possession of

another.” Richard v. Richard, 2009-539 (La. App. 3 Cir. 11/4/09); 24 So. 3d 292, 296 (emphasis

added). Also, the Plaintiff must be an owner or in legal possession of land to bring a suit under

trespass. See LaRue v. Crown Zellerbach Corp., 512 So. 2d 862 (La. App. 1 Cir.), writ denied,

514 So. 2d 1176 (La. 1987).25 Here, the Plaintiffs who purport to assert a trespass claim, “Real


24
   While Plaintiffs do not appear to assert state law claims for negligence or gross negligence, (see B1 Compl. Count
III.A-D), they do make passing reference in nuisance and trespass counts to alleged “negligence” and “gross
negligence” by Drilling Defendants. (See id. ¶¶ 693, 705.) To the extent Plaintiffs are asserting state law claims for
negligence, gross negligence and willful misconduct, such claims are also barred under Louisiana law pursuant to
the economic loss rule because Plaintiffs have not alleged any physical injury to a proprietary interest. (See id.
¶ 209(h)-(i).) See, e.g., Phillips v. G&H Seed Co., 2008-934 (La. App. 3 Cir. 4/8/09); 10 So. 3d 339, 441-44
(dismissing negligence claim on grounds economic loss rule barred purely economic claims by buyers and
processors of crawfish who had contracts with a commercial crawfish farm whose crop was damaged by defective
rice seed); La. Crawfish Producers Ass’n-West v. Amerada Hess Corp., 2005-1156 (La. App. 3 Cir. 7/12/06); 935
So. 2d 380, 385 (dismissing state tort claims as barred by economic loss rule where commercial crawfishermen
alleged that oil and gas exploration activities had damaged their fishing grounds); Dempster v. Louis Eymard
Towing Co., 503 So. 2d 99, 100-02 (La. Ct. App. 1987) (dismissing negligence claim pursuant to economic loss rule
on grounds fishermen had no proprietary interest in unharvested fish in state waters); PPG Indus., Inc. v. Bean
Dredging, 447 So. 2d 1058, 1062 (La. 1984) (dismissing negligence claim on grounds economic loss rule barred
recovery of pure economic losses of downstream users of gas from a damaged pipeline); Barasich, 2006 WL
3913403 at *7 (holding commercial fisherman alleging negligence and strict liability claims “who did not sustain
physical damages to their property lack standing to sue under either federal or state law”).
25
  See also Britt Builders, Inc. v. Brister, 618 So. 2d 899, 903 (La. Ct. App. 1993) (“The tort of trespass has long
been recognized by courts throughout this state as a means to correct the damage caused when an owner is unjustly
deprived of the use and enjoyment of his immovable”) (emphasis added). Holding a lease is insufficient to sustain
an action under trespass. Richard, 24 So. 3d at 298-99 (a son, as tenant or lessee at his mother‟s residence, could not
sue for trespass because “he did not have a legal usufruct of, or [a] real right in, [] property”); Indian Bayou Hunting

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Property Plaintiffs” and “Real Property/Tourism Plaintiffs,” (see B1 Compl. ¶¶ 693, 706, 708,

711), include Plaintiffs who are not property owners and Plaintiffs who own property but do not

allege any physical invasion of their property as a result of the Spill.26

                 4.       Plaintiffs Fail To State A Claim For Fraudulent Concealment.

        Plaintiffs‟ fraudulent concealment claim (Count III.C) must be dismissed for the

independent reason that Plaintiffs did not plead necessary elements of such a claim. Under

Louisiana law, fraudulent misrepresentation “is essentially an allegation of fraud.” Unimobil 84,

Inc. v. Spurney, 797 F.2d 214, 217 (5th Cir. 1986) (citation omitted). The elements are: “(1) a

misrepresentation of a material fact; (2) made with intent to deceive; and (3) causing justifiable

reliance with resultant injury.” Kadlec Med. Ctr. v. Lakeview Anesthesia Assocs., 527 F.3d 412,

418 (5th Cir. 2008). Fraudulent misrepresentation “by silence or inaction,” as alleged here,

requires that “defendant owed a duty to the plaintiff to disclose the information.” Id. at 418.

        First, Plaintiffs have not alleged with the requisite specificity of Rule 12(b)(6) or Rule

9(b) that BP made any fraudulent statements or omissions.27 Plaintiffs merely assert in general

terms that “BP attempted to downplay and conceal the severity of the Spill” and “did not provide

complete and timely announcements and warnings about the severity, forecast and trajectory of

the Spill.” (B1 Compl. ¶¶ 714-15, 720.) But general allegations of this nature do not suffice to


Club, Inc. v. Taylor, 261 So. 2d 669, 677-78 (La. Ct. App. 1972) (“A predial lessee [as opposed to a mineral lessee]
does not claim the ownership, possession, or enjoyment of a real right; he possesses for a lessor and he has the
enjoyment of a personal right, namely, that of the lease.”).
26
  Plaintiffs describe “Real Property Plaintiffs” as “[o]wners, lessors, and lessees of real property alleged to be
damaged, harmed, or impacted, physically or economically, including lessees of oyster beds,” and “Real
Property/Tourism Plaintiffs” as “[h]otel owners and operators, vacation rental owners and agents, and all those who
earn their living from the tourism industry.” (B1 Compl. ¶¶ 209(h)-(i) (emphasis added).)
27
   Under Rule 9(b) “general allegations, which do not state with particularity what representations each defendant
made, do not meet this requirement.” Unimobil 84, Inc., 797 F.2d at 217; see also Williams v. WMX Techs., Inc.,
112 F.3d 175, 177-78 (5th Cir. 1977) (Rule 9(b) requires Plaintiffs to “[1] specify the statements contended to be
fraudulent, [2] identify the speaker, [3] state when and [4] where the statements were made, and [5] explain why the
statements were fraudulent.”) (citations omitted). Under Rule 12(b)(6), “naked assertions devoid of further factual
enhancement” will not suffice. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quotations, and citation omitted).

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state a claim. See Williams v. WMX Techs., Inc., 112 F.3d 175, 180 (5th Cir. 1997) (dismissing

claim where excerpts reprinted in complaint “do not quote a defendant, they merely say that the

defendants were widely quoted or paraphrase previous statements.”).28

         Also, Plaintiffs do not plead any facts which suggest that BP‟s alleged misrepresentations

or silence was “material” to them. See RESTATEMENT (SECOND) OF TORTS § 538 ((1) Reliance

upon a fraudulent misrepresentation is not justifiable unless the matter misrepresented is

material. (2) The matter is material if (a) a reasonable man would attach importance to its

existence or nonexistence in determining his choice of action in the transaction in question; or

(b) the maker of the representation knows or has reason to know that its recipient regards or is

likely to regard the matter as important in determining his choice of action, although a reasonable

man would not so regard it.); Shandong Yinguang Chem. Indus. Joint Stock Co., v. Potter, 607

F.3d 1029, 1033 (5th Cir. 2010) (A false representation is material if a reasonable person would

attach importance to and be induced to act on the information).

         Second, the B1 Amended Master Complaint is devoid of any factual allegations

regarding an “intent to deceive” by BP, which is a necessary prerequisite for such a claim.29

         Third, Plaintiffs fail to allege “justifiable reliance” and “resultant injury.” The complaint

does not contain any allegations to support a claim by Plaintiffs of reliance on BP‟s alleged

28
  Plaintiffs‟ only specific allegation cannot give rise to a fraudulent misrepresentation claim. Plaintiffs allege BP
“overstated its ability to handle a blowout” in its Exploration Plan, which states an oil spill was “unlikely to have an
impact based on the industry wide standards for using proven equipment and technology for such responses,” (B1
Compl. ¶ 716), but do not allege that statement was false when it was made. BP‟s statement that techniques to
contain the flow of oil involve “significant uncertainties because they have not been tested in these conditions
before,” (id. ¶ 718), does not show that BP‟s statement that “impacts” were “unlikely” was false. Plaintiffs,
accordingly, have failed to show the “misrepresentation of a material fact” required under Louisiana law.
29
   See Farwell v. Milliken & Farwell, Inc., 145 So. 2d 644, 648 (La. Ct. App. 1963) (“In the instant case the
necessary essential of an intent to defraud cannot be imputed from the alleged misdeeds alone if we disregard the
conclusions of the pleader. There are no facts alleged tending to show artifices, maneuvers and other external
manifestations of the will which could show an intent to defraud.”); Bourgeois v. De Soto, 280 So. 2d 271, 275 (La.
Ct. App. 1973), reh'g on other grounds (noting “[i]ntent is an essential element of fraud,” and pointing to plaintiff‟s
failure to allege intent.) (citation omitted); Kirby v. Field, 2004-1898 (La. App. 1 Cir. 9/23/05); 923 So. 2d 131, 136
(holding petition deficient for failing to allege facts purportedly constituting fraud, including element of intent).

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silence or misrepresentations. See Jefferson v. Lead Indus. Ass’n, Inc., 106 F.3d 1245, 1254 (5th

Cir. 1997) (Louisiana fraudulent misrepresentation claim defective as a matter of law because

“[n]owhere in the complaint does plaintiff allege that she bought, used, or ingested the lead paint

pigment in reliance on defendants‟ misrepresentations.”). Plaintiffs do not even allege that they

were aware of BP‟s allegedly false statement, and, indeed, it is quite likely that Plaintiffs had no

knowledge of BP‟s statement in its Exploration Plan. Without such awareness, there can be no

reliance. See Johnson v. Seacor Marine Corp., 404 F.3d 871, 878 (5th Cir. 2005) (“If SEACOR

cannot demonstrate that it was aware of the contents of the certificate it certainly cannot

demonstrate that it relied to its detriment on the certificate.”). No less importantly, such reliance

would not be “justifiable” in this case, because a plaintiff cannot justifiably rely on predictions,

such as the one contained in Paragraph 716, that a certain event will be “unlikely” in the future.

(B1 Compl. ¶ 716.) Because predictions of the likelihood of future events often turn out to be

incorrect, Louisiana law bars plaintiffs from converting a forecast into a fraud claim. See Foley

& Lardner, LLP v. Aldar Invs., Inc., 491 F. Supp. 2d 595, 604 (M.D. La. 2007).

        Finally, Plaintiffs‟ blanket assertion that BP “had a duty to disclose” (B1 Compl. ¶ 721)

is insufficient. In Louisiana, “a duty to disclose does not exist absent special circumstances, such

as a fiduciary or confidential relationship between the parties, which, under the circumstances,

justifies the imposition of the duty.” Kadlec, 527 F.3d at 420 (citations omitted). “[T]he

existence of a duty is a question of law” in Louisiana. Id. at 421. As a matter of law, no such

duty exists between BP and Plaintiffs.

E.      Even If Florida Law Was Not Preempted, The Florida Pollutant Discharge
        Prevention and Control Act Does Not Apply Here And Must Be Dismissed.

        Even if Florida law is not preempted by OCSLA and the CWA, Plaintiffs‟ Florida

Pollutant Discharge Prevention And Control Act (PDPCA) claim (Count III.D) would still be


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meritless. Plaintiffs‟ PDPCA claim is based upon alleged damages from the flow of pollution

into Florida‟s territory. Plaintiffs admit that “[t]he immediate discharge from the Spill occurred

into waters outside the territorial limits of Florida,” but maintain that “lands and waters within

the territorial limits of Florida have been directly affected by the discharge and are reasonably

expected to continue to be so affected.” (B1 Compl. ¶ 742 (emphasis added).) This contingent

effect is insufficient to ground the claim under the Florida PDPCA.

       First, the Deepwater Horizon situs lies far outside Florida‟s territorial waters, and is not

subject to the State‟s jurisdiction, which runs only to a line 3 marine leagues (about 9 nautical

miles or 10.36 land miles) off its coast. See 43 U.S.C. § 1312 (any State‟s boundary is at least 3

nautical miles seaward, but can extend beyond that for some States); United States v. Florida,

425 U.S. 791, 792 (1976) (per curiam) (“As against the United States, the State of Florida is

entitled to all the lands, minerals, and other natural resources underlying the Gulf of Mexico

extending seaward for a distance of 3 marine leagues from its coastline or its historic coastline,

whichever is landward, but for not less than 3 geographic miles from its coastline….”); United

States v. Louisiana, 363 U.S. 121, 129 (1960). The United States, not Florida, holds jurisdiction

over the MC252 situs.

       Second, applying the PDPCA to an incident outside of Florida‟s territorial waters would

be an unconstitutional extraterritorial application of state law to regulate interstate commerce.

Interstate commerce, including the discovery, production, and transportation of oil in federal

waters, is governed by Congress. See U.S. Const. art. I, § 8, cl. 3. “[T]he Commerce Clause . . .

precludes the application of a state statute to commerce that takes place wholly outside of the

state‟s borders, whether or not the commerce has effects within the state.” Healy v. Beer Inst.,

Inc., 491 U.S. 324, 336 (1989). The PDPCA is intended to regulate “[t]he transfer of pollutants



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between vessels, … between offshore facilities and vessels” because it “is a hazardous

undertaking,” Fla. Stat. § 376.021(3)(a) (expressing legislative intent), and uses the state‟s police

power to empower the state Department of Environmental Protection to “[d]eal with the hazards

and threats of danger,” id. § 376.021(4)(a). The manner in which Plaintiffs seek to apply the

PDPCA aims precisely to regulate interstate commerce that takes place outside Florida‟s borders

based solely on an effect felt within its borders. Plaintiffs admit the Macondo well is located and

the discharge occurred “outside the territorial limits of Florida” (B1 Compl. ¶ 742), but attempt

to invoke the Florida law on the basis of effects within Florida‟s boundaries, (id.). Applying the

PDPCA in this manner would have the practical effect of regulating commerce outside Florida

because it would permit the regulation of and imposition of liability for pollution taking place

wholly outside the state‟s waters. This “practical effect” violates the Commerce Clause. Healy,

491 U.S. at 336. Applying the PDPCA to regulate an occurrence outside of Florida‟s waters on

the basis of effects felt within Florida violates the Commerce Clause and is unconstitutional.30

        Third, the PDPCA does not apply on its own terms. A responsible party is “liable to any

affected person for all damages as defined in s. 376.031.” Fla. Stat. § 376.12(5). In turn,

“damages” are defined as “the documented extent of any destruction to or loss of any real or

personal property . . . as the direct result of the discharge of a pollutant.” Id. § 376.031(5)

(emphasis added). Plaintiffs themselves recognize that their damages must be limited only to

damages that occur as a direct result of the discharge. (See B1 Compl. ¶ 744.) But the only

allegation concerning that damage states that “certain Plaintiffs and Florida Subclass Members

have sustained damage to their personal property as a result of the post-Spill cleanup activity”

30
   If the Court holds that OCSLA and/or Ouellette preemption bar Plaintiffs‟ PDPCA claim, it is unnecessary to
reach the issue of whether Plaintiffs‟ application of the PDPCA would violate the Commerce Clause. “The Court
will not pass upon a constitutional question although properly presented by the record, if there is also present some
other ground upon which the case may be disposed of.” Ashwander v. TVA, 297 U.S. 288, 347 (1936) (Brandeis, J.,
concurring) (quoted in United States v. Underwood, 597 F.3d 661, 665 (5th Cir. 2010)).

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(B1 Compl. ¶ 743) (emphasis added) not the discharge itself. Under the parallel OPA statute, a

claimant cannot recover unless the property damage is a direct result of the discharge. In re

Taira Lynn, 444 F.3d at 380.31 Whether or not Plaintiffs have a separate cause of action for

alleged damage from the cleanup, it is not the proper subject of Florida‟s PDPCA. Applying the

Florida PDPCA would require this Court to “go beyond the first step” of the chain of causation.

Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 534

(1983). The PDPCA, by its terms, only remedies damage arising as the direct result of a

discharge; the damage Plaintiffs claim is too attenuated to be remediable.

IV.     PLAINTIFFS’ PUNITIVE DAMAGES COUNT MUST BE DISMISSED.

        Count IV seeking “punitive damages under all claims” fails to state a claim. (B1 Compl.

¶¶ 748-69.) First, there is no independent cause of action for punitive damages. Second, as

established above, OPA is the legal remedy available to Plaintiffs seeking to recover against BP

for OPA-remediated harms, and punitive damages are not recoverable under OPA.

A.      There Is No Independent Cause Of Action For Punitive Damages.

        To the extent Count IV alleges a freestanding claim for punitive damages, it is patently

meritless. There is no independent claim for punitive damages. Byrne v. Nezhat, 261 F.3d 1075,

1093 n.34 (11th Cir. 2001) (“We note that a prayer for punitive damages is not an independent

cause of action.”); Allen v. R & H Oil and Gas Co., 63 F.3d 1326, 1333 (5th Cir. 1995) (“[A]

claim for punitive damages is not by itself an independent tort.”).32


31
  The proximate cause requirement is not loosened for Plaintiffs by Curd v. Mosaic Fertilizer, LLC, 39 So. 3d 1216
(Fla. 2010). By its terms, the Curd doctrine only applies to commercial fishermen, and still requires proof of
proximate causation. Id. at 1228-30 (Polston, J., concurring in part) (discussing importance of the restrictive “as a
direct result” language, and noting that it was not at issue in the case).
32
  The lack of an independent cause of action for punitive damages is black-letter law. See, e.g., Mosing v. Domas,
2002-0012 (La. 10/15/02); 830 So. 2d 967, 973 (“Under Louisiana law, exemplary or other „penalty‟ damages are
not allowable unless expressly authorized by statute.”); Life Ins. Co. of Ga. v. Smith, 719 So. 2d 797, 806 (Ala.
1998) (“We now require, therefore, that a jury‟s verdict specifically award either compensatory damages or nominal
damages in order for an award of punitive damages to be upheld.”); Hopewell Enters., Inc. v. Trustmark Nat’l Bank,

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B.       Punitive Damages Are Not Recoverable Under OPA.

         Count IV must be dismissed because punitive damages are not recoverable under OPA.

“Congress‟s very specific treatment of oil pollution in the OPA, which does not provide for

punitive damages, supplanted general admiralty and maritime law.” S. Port Marine, 234 F.3d at

65-66.

         First, the comprehensive list of remedies recoverable under OPA expressly does not

include punitive damages, see 33 U.S.C. § 2702 (defining elements of damages liability), and

OPA‟s silence as to punitive damages means such damages are not recoverable. See Dean v.

Am. Sec. Ins. Co., 559 F.2d 1036, 1039 (5th Cir. 1977) (“The provisions for liquidated damages

for willful violation of the Act [the Age Discrimination in Employment Act] and its silence as to

punitive damages convinces us that the omission of any reference thereto was intentional . . . .

[I]t is obvious that, if Congress believed punitive damages necessary to eliminate

discrimination in employment based on age, it knew exactly how to provide for them.”)

(emphasis added), en banc reh’g denied, 564 F.2d 97 (5th Cir. 1977), cert. denied, 434 U.S.

1066 (1978).        OPA expressly addresses “gross negligence and willful misconduct” by a

responsible party by lifting the caps on liability contained in 33 U.S.C. § 2704(c)(1)(A), not by

providing for private recovery of punitive damages.33 Congress clearly chose not to provide a


680 So. 2d 812, 820 (Miss. 1996) (“Mississippi law is clear that punitive damages are not recoverable absent an
award of actual damages.”); Ault v. Lohr, 538 So. 2d 454, 456 (Fla. 1989) (“We believe an express finding of a
breach of duty should be the critical factor in an award of punitive damages.”); id. at 457 (Ehrlich, C.J., concurring)
(“The crucial element in determining whether punitive damages may be awarded . . . is proof of the underlying
cause of action.”); Nabours v. Longview Sav. & Loan Ass’n, 700 S.W.2d 901, 904 (Tex. 1985) (“Punitive damages
are recoverable only after proof of a distinct, willful tort.”); Kaplan v. Harco Nat’l Ins. Co., 708 So. 2d 89, 96 (Miss.
Ct. App. 1998) (“[P]unitive damages are a remedy, not a cause of action. A claim for punitive damages is not itself
a chose in action. It is not free-standing.”); 22 AM. JUR. 2D Damages § 551 (2010) (“[A]s a rule, there is no cause of
action for punitive damages by itself; a punitive damages claim is not a separate or independent cause of action.”).
33
   In addition, Congress‟s specification in the CWA as part of the 1990 enactment of OPA that the ceiling on per-
barrel civil penalties increases if gross negligence or willful misconduct are proven shows that Congress knows how
to provide for enhanced monetary liability to punish misconduct when it wants to. See CWA § 311(b)(7)(A), (D),
33 U.S.C. § 1321(b)(7)(A), (D).

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punitive damages remedy to private claimants under OPA.

         Second, OPA‟s remedial regime is comprehensive, and, thus, the notion that Congress‟s

silence on punitive damages was designed to open the field to courts to supplement OPA‟s

carefully delineated categories of damages is entirely implausible. 34 OPA defines a highly

detailed set of remedial provisions that were clearly intended to be the exclusive remedies. See,

e.g., Blaze v. Payne, 819 F.2d 128, 129 (5th Cir. 1987) (“To determine Congressional intent,

„[w]e look first, of course, to the statutory language, particularly to the provisions made therein

for enforcement and relief.‟”) (quoting Nat’l Sea Clammers Ass‟n, 453 U.S. at 13 (1981)). As a

result, an award of punitive damages cannot be read into OPA.

         For these reasons, courts addressing the issue have concluded that punitive damages

cannot be awarded under OPA. As noted above, the First Circuit held in South Port Marine that

Congress intended for OPA to be a comprehensive damages scheme for oil spills, and because

the OPA does not provide for punitive damages, such damages could not be awarded under

general maritime law claims for oil pollution. 234 F.3d at 65-66; see also Clausen v. M/V NEW

CARISSA, 171 F. Supp. 2d 1127, 1133 (D. Ore. 2001) (holding that OPA has precluded an award

of punitive damages under any general maritime or admiralty law theory for any claim for which

the OPA could provide relief).            Additionally, the South Port Marine Court explained that

“Section 2702 [of OPA] sets forth a list of damages recoverable under the OPA, briefly

describing each type. As we have noted already, this scheme is comprehensive . . . . We take

this to be a strong indication that Congress intended the OPA to be the sole federal law

applicable in this area of maritime pollution.” 234 F.3d at 65 (emphasis added).


34
   See 33 U.S.C. § 2702 (defining elements of damages liability), § 2703 (providing defenses to liability), § 2704
(establishing limits on liability), § 2705 (covering interest awards and making provisions for the partial payment of
claims), § 2707 (special provisions for recoveries by foreign plaintiffs), § 2708 (special provisions for recovery by
responsible parties), and § 2713(c) (offering claimants an election of remedies).

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        In sum, Plaintiffs should not be able to read into OPA a remedy that Congress explicitly

omitted from the statute‟s remedial scheme, and where courts have determined the same.

V.      PLAINTIFFS’ ATTEMPTS TO IMPEDE SETTLEMENT OF OPA CLAIMS BY
        WAY OF DECLARATORY RELIEF MUST BE DISMISSED.

        Counts V and VI seek declaratory relief aimed at impeding settlement of OPA claims.

These attempts by Plaintiffs are in direct contravention of Congressional intent in creating the

mandatory OPA claims process and presentation requirement, namely “to allow for quick and

complete payment of reasonable claims without resort to cumbersome litigation.” 135 Cong.

Rec. H7965 (daily ed. Nov. 2, 1989) (emphasis added). This Court has stated that it “recognizes

and appreciates the enormity of the undertaking of Mr. Feinberg and does not intend to impede

or interfere with his ability to fairly and efficiently process claims.” (Order And Reasons, at 8

(Feb. 2, 2011) [Doc. 1098].) Counts V and VI should be dismissed because they are designed

precisely to interfere with the GCCF‟s ability to fairly resolve OPA claims.

        Count V requests that “settlement provisions that purport to, directly or indirectly, to

release or to affect the calculation of punitive damages” be declared “ineffective as contrary to

law, equity, and public policy.” (B1 Compl. ¶ 770.) Count VI seeks a declaration “that the

conduct of BP and its agents and representatives, including the Gulf Coast Claims Facility

(„GCCF‟), in obtaining releases and/or assignments of claims against other parties, persons, or

entities is not an obligation of BP under OPA.” (Id. unnumbered par. after ¶ 770.) Both counts

should be dismissed for these reasons:

        First, both counts must be dismissed because there is no independent cause of action for

declaratory relief, and Plaintiffs do not identify any cause of action entitling them to the

declaratory relief requested. See Collin Cnty. v. Homeowners Ass’n for Values Essential to

Neighborhoods, 915 F.2d 167, 170-71 (5th Cir. 1990) (“it is the underlying cause of action


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…that is actually litigated in a declaratory judgment action”); Earnest v. Lowentritt, 690 F.2d

1198, 1203 (5th Cir. 1982) (“[T]he request for declaratory relief is tied to no other cause of

action within the jurisdiction of the federal court and must be dismissed.”).

       Second, nothing in OPA limits the ability of OPA responsible parties to fully and finally

resolve a dispute. Indeed, Congress made clear in OPA‟s legislative history, and federal courts

have reaffirmed, that “settlement and avoid[ance of] litigation is the primary goal of OPA‟s

presentment requirement.” Boca Ciega, 51 F.3d at 238-39 (emphasis added). The United

States has made clear that releases are commonplace in connection with settling OPA claims:

               OPA leaves this extra-judicial claims settlement process largely in
               the parties‟ hands….Responsible Parties in oil spills regularly
               seek releases as part of the claims process.”
(MDL 2179, Statement Of United States Regarding The Court‟s February 2, 2011 Order, at 2

(Feb. 18, 2001) [Doc. 1322].)

       Third, Fifth Circuit law is clear that settlements that release all claims, known and

unknown, are perfectly valid and enforceable and indeed promote the public policy favoring

settlement of disputes. See, e.g., Ingram Corp. v. J. Ray McDermott & Co., Inc., 698 F.2d 1295,

1312 (5th Cir. 1983) (“When a release provides that „any and all claims,‟ „past, present, or

future‟ are to be extinguished, a court is required to enforce its provisions both as to known and

unknown claims. A contrary result would not contribute significantly to the public policy of

encouraging the settlement of differences and compromise of disputes .…”); Robin v. Binion,

469 F. Supp. 2d 375, 386-87 (W.D. La. 2007) (release of “any and all claims” “known or

unknown” should be enforced because not doing so would undermine the strong public policy

favoring settlement).

       Lastly, claimants who do not wish to sign a release and settle their OPA claims through

the GCCF have other options, and these options are clearly conveyed by GCCF to claimants.

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Instead, claimants may choose to (i) apply for interim payments for which no release is required;

(ii) present a claim to National Pollution Funds Center for payment from the Oil Spill Liability

Trust Fund, or (iii) file suit in court after fulfilling OPA‟s mandatory claim presentation

requirement. See 33 U.S.C. § 2713(c) . The GCCF expressly communicates these options to

claimants.35 The GCCF also informs claimants that entering into a release forecloses these other

options, and that claimants have the right to consult with an attorney prior to signing a release.36

                                              CONCLUSION

        For these reasons, BP respectfully requests that this Court dismiss the claims filed against

BP contained in the B1 Amended Master Complaint. Additionally, BP respectfully requests that

the Court‟s rulings “shall not only be applicable to the Administrative Master Complaint but also

to the individual actions,” and, that this Court dismiss the specific individual Complaints

identified by BP in Exhibit 12 for the reasons cited herein. See Turner v. Murphy Oil USA, Inc.,

No. 05-4026 (E.D. La. Dec. 29, 2005) (Fallon, J.) (where appropriate, the Court “dismisses

causes of action in all cases” not only in the Administrative Complaint), attached as Ex. 19.




35
   See Ex. 18, GCCF Full Review Final Payment Claim Form, Sample Release and Covenant Not to Sue (“You are
under no obligation to accept the final payment offered to you by the Gulf Coast Claims Facility. You are free to
reject the final payment offered by the Gulf Coast Claims Facility and to pursue other means of compensation. If
you want to file a lawsuit regarding the Incident or make a claim to the Oil Spill Liability Trust Fund, do not sign
this Release.”); see also Ex. 8, GCCF FAQs at Questions 53 (claimant options if they disagree with GCCF full
review final payment decisions), Questions 54-73 (addressing interim payment claims option); Ex. 10, GCCF
Summary of Final and Interim Payment Options.
36
   See Ex. 10 at 1, GCCF Summary of Final and Interim Payment Options (“If you sign a release of liability, you
will not be able to seek further compensation from the GCCF, the Coast Guard, or in court including in the … MDL
No. 2179. . . . “Do not elect the Quick Payment Final Claim process unless you are willing to …sign a full
release of liability. If you sign a release of liability, you will not be able to seek further compensation from the
GCCF, the Coast Guard, or in court.”) (emphasis in original); see also Ex. 8, FAQs at Question 1 (“You have the
right to consult with an attorney of your choosing prior to accepting any settlement from the GCCF or signing a
release of legal rights.”), Questions 9-13 (addressing attorney representation), Questions 18, 22-23, 25-29
(describing “Quick Payment Final Claims” option and required release), Questions 43, 46-49, 53 (describing “Full
Review Final Payment Claims” option and required release).

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                                   Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 28th day of February, 2011.

                                      /s/ Don K. Haycraft
                                          Don K. Haycraft




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